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                                          APPEAL NO. 24-142
                                 UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT
             PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                            Plaintiffs-Appellees,
                                                     v.
            Raúl LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                         Defendants-Appellants,
                                                    and
            JAN M. BENNETTS, in official capacity as Ada County Prosecuting Attorney, et al.
                                                                                     Defendants.
                                 On Appeal from the United States District Court
                            for the District of Idaho / Case No. 1:23-cv-00269-BLW
                     SUPPLEMENTAL EXCERPTS OF RECORD OF APPELLEES
                                     VOLUME 3 of 3
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             1                        The Endocrine Society
             2        commissioned two systematic reviews in
             3        the development of their clinical
             4        practice guidelines, correct?
             5                        MR. RAMER:            Objection to the
             6              form.       Asked and answered.
             7              A.        Answering that in a yes or a no
             8        insinuates a level of completeness and
             9        utility that they don't have.
            10              Q.        And I am not asking for any
            11        characterization of the reviews.                           Again,
            12        I think this is a very simple binary
            13        yes/no question.               Did they, in the course
            14        of developing the clinical practice
            15        guidelines, you agree the Endocrine
            16        Society commissioned two systematic
            17        reviews?
            18                        MR. RAMER:            Objection to the
            19              form.       Asked and answered.                  And again,
            20              I object to counsel cutting off the
            21              witness's response.
            22              A.        It's not a dichotomous
            23        question.         For example, if somebody asked
            24        does surgery work?                Well, the question
            25        can be phrased in a dichotomous way.

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             1                        But the answer to the question
             2        is, well, it depends on the surgery and
             3        it depends on the diagnosis that you're
             4        trying to use it for.
             5                        So did they conduct systematic
             6        reviews, well, did they conduct
             7        systematic reviews of the material that
             8        was needed in order to answer the
             9        questions to develop the policy it was
            10        based on, as I say --
            11              Q.        Let's try this a different way.
            12        Look at page 1 of Exhibit 6, under the
            13        subheading called "Evidence."                         Do you see
            14        that?
            15                        MR. RAMER:            Objection to the
            16              form.       And again, object to counsel
            17              cutting off the witness's response.
            18              Q.        Can you give me the decimal
            19        number of the part you're referring to?
            20              A.        It's the first page of Exhibit
            21        6.    So the very cover page.                       And what
            22        would be generally like an abstract
            23        section.        Yup.
            24              Q.        And the heading is called
            25        "Evidence."

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             1                        Do you see that?
             2              A.        Yes.
             3              Q.        The last sentence of that
             4        paragraph "The task force commissioned
             5        two systematic reviews."
             6                        Do you see that statement?
             7              A.        Yes.
             8              Q.        Do you have any reason to
             9        disagree with that statement?
            10              A.        Yes, it's incomplete.
            11              Q.        What is incomplete about the
            12        statement that the task force
            13        commissioned two systematic reviews?
            14              A.        What they reviewed.
            15              Q.        Do you see that sentence goes
            16        on to say "And used the best available
            17        evidence from other published systematic
            18        reviews and individual studies"?
            19              A.        Yes.
            20              Q.        So you would agree -- you won't
            21        agree.       Let me strike that and let me try
            22        that again.
            23                        The Endocrine Society, in
            24        addition to the two systematic reviews
            25        that were commissioned, also relied on

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             1        other published systematic reviews and
             2        individual studies.                  "
             3                         Do you agree with that?
             4                         MR. RAMER:              Objection to the
             5               form.
             6               A.        I agree that they did indeed
             7        include -- I have no reason to disagree
             8        that they included other materials in the
             9        formation of a policy.
            10               Q.        And those other materials
            11        included other published systematic
            12        reviews, right?
            13               A.        That's what they said, but it's
            14        not exactly clear which ones there were,
            15        especially given that, given that year.
            16               Q.        If we could please go ahead and
            17        turn to --
            18               A.        Oh, I am sorry.                 And, of
            19        course, missing is the age range.                                The
            20        large, large majority of the information
            21        that they reviewed pertained to adults.
            22        Of both of those reviews the total number
            23        of studies that pertained to minors was
            24        one.        It was exactly one study between
            25        both of those reviews, one study that was

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             1        about minors.
             2                        So it's only by removing those
             3        details that it starts sounding like that
             4        there were two systematic reviews.                               Yeah,
             5        one of which included zero studies about
             6        minors.
             7                        So by taking out the reviews of
             8        what removes that the entire process for
             9        minors included exactly one study.                               Which
            10        I name in my report and I think it's
            11        Table number 1 of my report, compared to
            12        the other systematic reviews, which list
            13        exhaustively all of the studies that were
            14        included in all of the systematic
            15        reviews.
            16                        So just generically saying
            17        reviews, a review of one study is not a
            18        review.        It's just a study.
            19              Q.        So if we can please turn to
            20        page 10 of Exhibit 6, which according to
            21        the internal pagination is page 3878.
            22              A.        Got it.
            23              Q.        Do you see there is a table on
            24        that page called Table 5?
            25              A.        Yes, I do.

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             1              Q.        And Table 5 describes the
             2        criteria for gender-affirming hormone
             3        therapy for adolescents, right?
             4              A.        That's their title for it, yes.
             5              Q.        And it's broken into two
             6        sections where the Endocrine Society
             7        first provides criteria that makes
             8        adolescents eligible for GnRH agonist
             9        treatment, right?
            10              A.        Yes.       And as I say, one study
            11        that they reviewed was about cross-sex
            12        hormone treatment.                The number of studies
            13        that they included for the puberty
            14        blockers was zero.                This is based on zero
            15        studies.
            16              Q.        And the bottom half of the
            17        table is identified by the Endocrine
            18        Society as criteria that make adolescents
            19        available for subsequent sex hormone
            20        treatment?
            21              A.        Correct, that was the part that
            22        was based on one study.
            23              Q.        And when you say it's based on
            24        one study, you're referring to those two
            25        commissioned systematic reviews, right?

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             1              A.        Right, the two of them put
             2        together found for minors a total of one
             3        study.
             4              Q.        And you're not considering any
             5        of the other articles, references and
             6        studies that are cited within the
             7        contents of the Endocrine Society
             8        Guidelines?
             9              A.        The purpose of a systematic
            10        review is to apply consistent criteria
            11        through all of them.
            12                        So the point of those not being
            13        included in the systematic review is that
            14        they would, you know, they didn't
            15        qualify, you know, they didn't meet the
            16        criteria for an even-handed
            17        identification of the appropriate
            18        research.
            19                        That isn't to say that one
            20        should necessarily ignore them.                          But one,
            21        of course, needs to acknowledge that
            22        there is a reason that they weren't of
            23        the methodological quality in order to,
            24        you know, be included in the systematic
            25        review to begin with.

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             1              Q.         So if we look at the first half
             2       of Table 5, the adolescents eligible for
             3       GnRH agonist treatment?
             4              A.         Yes.
             5              Q.         You agree that the Endocrine
             6       Society lays out as one of the criteria
             7       that the adolescent has demonstrated a
             8       long lasting and intense pattern of
             9       gender nonconformity or gender dysphoria?
           10               A.         That's the text that they
           11        wrote, yes.
           12               Q.         And another criteria is that
           13        they require that the gender dysphoria
           14        has worsened with the onset of puberty?
           15               A.         Yes, that's the text that they
           16        included.
           17               Q.         And that any coexisting
           18        psychological, medical or social problems
           19        that could interfere with treatment, for
           20        example, that may compromise treatment
           21        adherence have been addressed such that
           22        the adolescent's situation and
           23        functioning are stable enough to start
           24        treatment?
           25               A.         Yes, they included that test.

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             1              Q.         And that the adolescent has
             2       sufficient mental capacity to give
             3       informed consent to this reversible
             4       treatment?
             5              A.         That's their text, yes.
             6              Q.         Now, I will accept, and I know
             7       that you have strong disagreement with
             8       the inclusion of the parenthetical phrase
             9       "reversible," correct?
           10               A.         I think the phrase is being
           11        wildly misused and overinterpreted.
           12               Q.         You would agree that -- and
           13        those four criteria all need to be
           14        evaluated by a qualified mental health
           15        professional, right?
           16               A.         I would add other criteria to
           17        that.
           18               Q.         And there are other criteria --
           19               A.         I mean to the qualifications of
           20        the mental health professional.                            An
           21        unfortunate side effect of the
           22        polarization that's going on is that it's
           23        more than possible to engage in therapist
           24        shopping.
           25                          If you find, you know, one

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             1       mental health person that says, says no
             2       or you find a string of them that says
             3       no, it's always possible to find another,
             4       to find somebody who uses very low
             5       stands, to find somebody with an ideology
             6       bent, you know, in order to sign off on
             7       whatever, on whatever it is the patient
             8       wants.        So in practice a qualified
             9       becomes indistinguishable from a willing.
           10               Q.         Are you aware of the
           11        qualifications of the various therapists
           12        and mental health professionals in the
           13        State of Idaho?
           14               A.         Only cursorily through the --
           15        only cursorily in order to be able to
           16        receive a license or registration in
           17        general.          But there does not exist a
           18        documentation for qualifications specific
           19        to being allowed to implement, implement
           20        the WPATH or any other criteria.
           21               Q.         Do you consider yourself a
           22        qualified mental health professional
           23        under these criteria?
           24                          MR. RAMER:            Objection to form.
           25               A.         I am not aware of their issuing

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             1       criteria for what's qualified.                            I am not
             2       aware of WPATH or any of the other groups
             3       having any assessment, regulatory or
             4       supervisory powers at all.                            They merely
             5       use the word "qualified" but there is
             6       nothing in any of this that prevents
             7       anybody from calling themselves
             8       qualified.           It's being used as a
             9       throwaway term.
           10               Q.         Do you agree that the Endocrine
           11        Society Guidelines say that coexisting
           12        psychological, medical or social problems
           13        that could interfere with treatment have
           14        been -- must be addressed?
           15               A.         Again, they include that --
           16                          MR. RAMER:            Sorry, objection to
           17               the form.           Sorry, I didn't want to cut
           18               you off.          Objection to the form, and
           19               you can go ahead and answer.
           20               A.         They include that text, yes.
           21        But it's, as I say, unenforced,
           22        unchecked, unoperationalized in the
           23        context of the endochronological
           24        statement, in practice it's just saying
           25        we are not responsible for this.                            We just

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             1       handle the endochronological part and the
             2       mental health part, as long as you sign
             3       your name to the paper and you're
             4       responsible for it, you're responsible
             5       for it.         Not us.         But they issue no
             6       guidelines.            They don't talk about how
             7       they would assess or that they even
             8       attempt to assess the qualifications of
             9       the mental health professional who is
           10        signing off on the medical transition.
           11               Q.         What qualifications would you
           12        want the mental health professional to
           13        have in order to make these
           14        determinations?
           15                          MR. RAMER:            Objection to form.
           16               A.         That's tough to say in the
           17        current context.                It's exactly because
           18        these questions have become as polarized
           19        and as controversial that they have that
           20        we, the healthcare professions and we the
           21        democratic societies require an objective
           22        evidenced means of making these decisions
           23        in order to be fair to people who
           24        disagree.          Disagree in a healthy way, I
           25        mean.

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             1                         Because that necessarily
             2       includes an empirical evidence-based
             3       means of deciding what the criteria for
             4       the patients are, that pretty much
             5       requires that the same empirically
             6       demonstrated, tested criteria be applied
             7       for the decision for which clinicians are
             8       qualified to do that.
             9                         So if somebody asked me that
           10        question 15 years ago, you know, I could
           11        relatively fluently suggest the basic
           12        parts of my field and the knowledge
           13        that's in it in order to say this is the
           14        kind of stuff a person needs to know in
           15        order to come to an educated clinical
           16        decision.
           17                          But because of the situation
           18        that's bringing these questions forth
           19        today, I would need to, and I think one
           20        would need to say, how do you know that
           21        those are effective.                    My best guess isn't
           22        good enough anymore as it would have been
           23        before these controversies emerged.
           24                          So I am still able and willing
           25        to describe the areas of the field that a

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             1       person needs to be able, needs to be
             2       fluent in in order to be able to assess
             3       the multiple possibilities that, of what
             4       might help a patient expressing gender
             5       dysphoria.           But there hasn't been a test
             6       to demonstrate that, my hunch, my view,
             7       my opinion, for what the qualifications
             8       should be are, as I say, themselves
             9       empirically validated.
           10                          The one exception to that is
           11        the more general finding that has been
           12        shown in research about healthcare
           13        providers is that actual clinical
           14        experience in this or other relevant
           15        questions does not help.                        It does not
           16        improve clinical decision-making and
           17        level of clinical care.                       It increases the
           18        confidence of the clinician.                          But it does
           19        not improve actual clinical care, which
           20        is exactly the opposite of how most lay
           21        people think of it and including most of
           22        the legal systems where people kind of
           23        have this prejudice, hunch, myth.                             That
           24        more experience at performing this kind
           25        of care makes one better at this care.

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             1       The research does not support that.
             2              Q.         Are you a qualified mental
             3       health professional who would be able to
             4       make these determinations listed out here
             5       -- sorry, let me strike that and start
             6       over.       I realize I am asking my question
             7       slowly.
             8                         Are you a qualified mental
             9       health professional who is able to make
           10        the assessments laid out in, under number
           11        1 of Table 5 of the Endocrine Society
           12        Guidelines?
           13                          MR. RAMER:            Objection to the
           14               form.
           15               A.         Again, without an objective set
           16        of what those criteria are it's hard to
           17        be definitive.              At the same token, it's
           18        difficult to think of a set of criteria
           19        that wouldn't approve me while still
           20        being legitimate criteria at all.
           21                          I mean, there are people who
           22        would want to disqualify me, accusing me
           23        of whatever myth or stereotypes they have
           24        about me.          But for objective criteria,
           25        again, it would be difficult to say which

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             1       ones I wouldn't -- what kind of criterion
             2       I wouldn't meet.                Again, I'm limiting my
             3       own opinions to adults.
             4              Q.         You agree that the Endocrine
             5       Society lays out in its criteria for
             6       gender-affirming hormone therapy for
             7       adolescents that a qualified mental
             8       health professional has to confirm these
             9       points under number 1 in Table 5, right?
           10                          MR. RAMER:            Objection to form.
           11               A.         Yes.      As I say, it's an
           12        expression that that is essentially the
           13        coverage they are giving themselves.                              If
           14        it turns out the person's mental health
           15        status doesn't improve this is the
           16        opportunity for endochronologists to say,
           17        that wasn't our job.
           18               Q.         The Endocrine Society as part
           19        of that wants to ensure that -- strike
           20        that.
           21                          The Endocrine Society
           22        Guidelines lay out that a patient's
           23        coexisting psychological, social or
           24        mental problems that can interfere with
           25        the treatment have been addressed, right?

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             1                         MR. RAMER:            Object to the form.
             2              A.         Well, again, it's the same
             3       thing.        They are saying if they have not
             4       been addressed, that wasn't our job.
             5       That's the fault of a clinician who sent
             6       the patient and cleared the patient
             7       before they came to our door.
             8              Q.         Unless a mental health
             9       professional -- unless a qualified mental
           10        health professional has confirmed that
           11        the patient doesn't have coexisting
           12        psychological, medical or social problems
           13        that could interfere with treatment or
           14        any such problems have been addressed,
           15        then the Endocrine Society Guidelines say
           16        that person is not eligible for GnRH
           17        agonist treatment, right?
           18                          MR. RAMER:            Objection to the
           19               form.
           20               A.         Yes, that's what provides them
           21        the coverage.
           22               Q.         And the Endocrine Society
           23        Guidelines say that GnRH agonist
           24        treatment should not be started before 10
           25        or stage 2, right?

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             1              A.         That's a throwaway kind of
             2       requirement, because you can't block a
             3       puberty that hasn't happened.                          So the
             4       presence of that line is correct.                             But as
             5       I say, it's a pretty vacuous claim.
             6              Q.         You can't administer puberty
             7       blockers to pre-pubertal children, right?
             8                         MR. RAMER:            Objection to the
             9              form.
           10               A.         There is no point to it.                        So as
           11        I say, it's a vacuous, it's a vacuous
           12        claim.        It shouldn't be interpreted to
           13        indicate some sort of a conservatism on
           14        their part.            It's an empty rule.                  Don't
           15        give medicine to a person who doesn't
           16        need the medicine.                  Okay, fine.            As I
           17        say, it's an empty -- it's an empty rule.
           18               Q.         If a patient satisfied all of
           19        the criteria laid out in the first half
           20        of Table 5 under the heading of
           21        "Adolescents Are Eligible for GnRH
           22        Agonist Treatment If," if there were a
           23        person under the age of 18 who satisfied
           24        all of those criteria, should that person
           25        be able to obtain puberty blockers?

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             1                         MR. RAMER:            Objection to the
             2              form.
             3              A.         Well, to me able is a
             4       conclusion of what's a risk-to-benefit
             5       ratio.        We have grossly insufficient
             6       information about the risks, and
             7       especially the benefits.                        The Endocrine
             8       Society did not include in their
             9       systematic reviews either the risks or
           10        the benefits of puberty blocking
           11        medication.            So we simply do not know if
           12        they are able.              We simply cannot assess
           13        the risk-to-benefit ratio.                            And they cite
           14        no evidence suggesting that they have it.
           15        It's an unanswerable question.                            We have
           16        slightly more information now than when
           17        they first wrote this.
           18                          I included in my report, in my
           19        response to a Dr. Baker, I included a
           20        table that had the exact year of this and
           21        the list of all of the studies, you know,
           22        by year, in order to, you know,
           23        demonstrate that at the time of this, the
           24        studies we had didn't exist.                            These
           25        criteria, indeed I think expire this

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             1       year.       And they, I assume, are planning
             2       to update and reengage it.
             3                         The current set of the
             4       Endocrine Society -- their policies
             5       automatically give out, I think every
             6       five years, I think.                    So this is as out
             7       of date as their criteria.
             8                         I take that back.                   It's the AAP
             9       that just announced a redoing of it.                              But
           10        as I cite, the years on which this is
           11        based on the lack of research on which
           12        these statements about GnRHs are applied
           13        are all still true.                   So they came up with
           14        a policy, but it is not based on any
           15        research at all.
           16               Q.         Do you think that GnRH agonist
           17        treatment is appropriate under any
           18        circumstances for purposes of treating
           19        gender dysphoria?
           20                          MR. RAMER:            Objection to form.
           21               A.         It can be, as we were
           22        discussing before.                  It has to have the
           23        caveats of it's possible, but mostly
           24        unknown, which is the whole trouble.                              We
           25        need to do the research in order to be

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             1       able to identify, assuming it's possible
             2       at all, to identify which people for whom
             3       it might be beneficial or at least give
             4       us a favorable risk-to-benefit ratio.                              If
             5       we can't identify which persons they are,
             6       that it's possible, is the question.
             7              Q.         I think you mentioned this
             8       earlier, if we can go back to your
             9       declaration, Exhibit 1, and look at Table
           10        1, which I believe occurs right after
           11        paragraph 78.              Or right before paragraph
           12        78, I am sorry.
           13                          So the studies that you listed
           14        in this table, under Endocrine Society,
           15        the only one that you have listed is
           16        Klink?
           17               A.         Yes, that is the one study that
           18        their systematic review found.
           19               Q.         So to be clear, this table is
           20        discussing what was included in
           21        systematic reviews, right?
           22               A.         Correct.
           23               Q.         This table does not indicate
           24        what studies were relied on by the
           25        Endocrine Society in providing their

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             1       guidelines in addition to the systematic
             2       review?
             3              A.         That's correct.                 That's the job
             4       of the systematic reviews to apply that
             5       criteria to everything going on.                            Things
             6       that are excluded by a systematic review
             7       are excluded for an explicit reason.
             8                         Now the part that needs to be
             9       answered is that if this study didn't
           10        qualify for your systematic review,
           11        exactly why are you including it in your
           12        policy at all.              If it wasn't good enough
           13        for the systematic review for the policy,
           14        what makes it good enough for the policy.
           15               Q.         This table also doesn't include
           16        other systematic reviews that were relied
           17        upon by the Endocrine Society except for
           18        the two that they commissioned, right?
           19               A.         The great majority, really,
           20        except for this one study, everything
           21        else in their systematic review is about
           22        adults.
           23                          So the other systematic reviews
           24        that they included were systematic
           25        reviews about outcomes and risks for

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             1       adults, not adolescents.
             2              Q.         And you applied the same
             3       criteria for what you included in the
             4       column for the WPATH?
             5              A.         Yes.
             6              Q.         And so just to be clear on
             7       that, because I thought that was a
             8       terrible question, personally.                           So in the
             9       column for WPATH, the articles listed
           10        there, are just the articles that were
           11        included in the systematic review
           12        commissioned by WPATH, right?
           13               A.         Correct, that's the point of
           14        the systematic review is to exclude
           15        everything with the explicit criteria,
           16        which says, these are the studies good
           17        enough to, you know, be in.
           18                          If you say, oh, the studies
           19        after setting your criteria, finding
           20        that, oh, I don't like the studies that
           21        meet my criteria, so let's include these
           22        other studies that I wanted to include
           23        all along.           That's now gaming the system.
           24        The entire purpose of the systematic
           25        review is to disallow that kind of cherry

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             1       picking.
             2                         Once you add or read studies
             3       that were excluded by a systematic
             4       review, as I cite, that's spoiling the
             5       whole point of trying to be objective and
             6       avoid cherry picking.                     That's merely
             7       claiming that you're avoiding cherry
             8       picking and then throwing more cherries
             9       into the basket after the fact.
           10               Q.         If we can turn to paragraph 143
           11        of your declaration.
           12                          MR. RAMER:            Sorry, Philip, did
           13               you say 143?
           14                          MR. MAY:          Yes.
           15                          MR. RAMER:            Thank you.
           16               Q.         The first sentence of this
           17        paragraph reads "The social media voices
           18        today loudly advocate
           19        'hormones-on-demand' while issuing
           20        hyperbolic warnings that teens will
           21        commit suicide unless this is not
           22        granted."
           23                          Did I read that correctly?
           24               A.         Yes.
           25               Q.         What do you mean by the phrase

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             1       "hormones-on-demand" in quotation marks?
             2              A.         That there should not be an
             3       assessment or gatekeeping process.                                That
             4       obtaining, obtaining these medications is
             5       itself a civil right rather than an
             6       assessment of risk-to-benefit ratios.
             7              Q.         The Endocrine Society does not
             8       endorse providing hormones-on-demand,
             9       correct?
           10                          MR. RAMER:            Objection to form.
           11               A.         They don't use that phrase.
           12               Q.         We just looked at the criteria
           13        for the Endocrine Society for providing
           14        hormones, and there are specific criteria
           15        that should be met before
           16        gender-affirming medical care is
           17        provided, right?
           18                          MR. RAMER:            Objection to the
           19               form.
           20               A.         Yes and no.             The language that
           21        they use lacking any objective means of
           22        assessment allows for absolutely anything
           23        to happen with no comeuppance.                           There is
           24        nothing to stop anybody from calling
           25        anybody qualified.

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             1                         So saying that it needs to be a
             2       qualified person, but you give no way of
             3       determining, assessing or supervising who
             4       counts as qualified, well, that's not a
             5       rule at all anymore.
             6              Q.         Are you aware of any doctor in
             7       Idaho providing "hormones-on-demand"?
             8              A.         I can't imagine a licensed
             9       healthcare provider making such a
           10        statement publicly.                   As I say, it's
           11        typically social media voices, people who
           12        refer to themselves as activists
           13        referring to engaging in such procedures
           14        as a civil right, and so on, who are
           15        expressing, without using the phrase, but
           16        expressing what is indistinguishable from
           17        operationally hormones-on-demand.                             But
           18        such voices and advocates don't have a
           19        license or insurance coverage to enable
           20        it.
           21                          It's people with nothing to
           22        lose and for whom it's very easy to say
           23        out loud in an anonymous social media
           24        account.          It should be people deciding
           25        for themselves, and that's that.

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             1                         But the clinicians themselves
             2       again -- there is one potential
             3       exception, but not in, not in Idaho.                                As
             4       I say, I am not aware of a licensed
             5       clinician describing themselves with such
             6       language.
             7              Q.         Are you aware of a licensed
             8       clinician in Idaho whose practices
             9       conforms as what you describe as
           10        hormones-on-demand?
           11               A.         No, I never looked.
           12               Q.         And the sentence here refers
           13        generally, to social media voices.                                There
           14        is no citations for that sentence, right?
           15               A.         Correct.          I didn't try to find
           16        -- again, for example, specific quotes of
           17        specific tweets or -- do we still call
           18        them tweets -- posts on social media
           19        where somebody said so.
           20               Q.         So you're relying on your
           21        expert opinion for that, right?
           22               A.         I don't know really if it's an
           23        actual -- I don't know if I would call it
           24        my expert opinion.                  It's just, you know,
           25        like more than once it's a pretty

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             1       ubiquitous -- it's pretty ubiquitous.
             2              Q.         All right.             Let's go ahead and
             3       shift gears just a little bit.                             In terms
             4       of assessing research literature, you
             5       believe that GRADE is the most widely
             6       used methodology for assessment of, for
             7       assessment of studies?
             8              A.         For clinical, clinical outcome
             9       studies, yes.
           10               Q.         And you're familiar with the
           11        literature underlying GRADE?
           12               A.         Yes, basically.
           13                          MR. MAY:           Rob, we can go ahead
           14               and mark tab 19 as the next exhibit,
           15               which I believe will be 7.
           16                          (Exhibit 7, Article entitled
           17               "GRADE Guidelines:                    3.        Rating the
           18               Quality of Evidence by Balshem,
           19               et al.", was so marked for
           20               identification, as of this date.)
           21               Q.         What has been marked as Exhibit
           22        7 is an article entitled "GRADE
           23        Guidelines:            3.      Rating the Quality of
           24        Evidence by Balshem, et al."                             Do you see
           25        that?

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             1              A.         Yes.
             2              Q.         You're familiar with this
             3       paper?
             4              A.         I can't say this specific
             5       paper.        At least I would have to check my
             6       own notes to remember exactly which
             7       reference, which version of this it came
             8       from.       But I know roughly the contents of
             9       it.
           10               Q.         Why don't you turn with me to
           11        page 2 of Exhibit 7 to the heading number
           12        4.
           13               A.         I see it.
           14               Q.         You see the heading says "A
           15        particular quality of evidence does not
           16        necessarily imply a particular strength
           17        of recommendation"?
           18               A.         That's correct.
           19               Q.         And in the first paragraph
           20        underneath that section, the last two
           21        sentences read, "Although higher quality
           22        evidence is more likely to be associated
           23        with strong recommendations than lower
           24        quality evidence, a particular level of
           25        quality does not imply a particular

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             1       strength of recommendation.                           Sometimes,
             2       low, or very low quality evidence, can
             3       lead to a strong recommendation."
             4                         Do you see that?
             5              A.         Yes.
             6              Q.         Do you disagree with that
             7       statement?
             8              A.         That it can happen sometimes,
             9       no, I don't disagree.
           10               Q.         You can go ahead and turn to
           11        page 3 of Exhibit 7, section 5.
           12               A.         I am there.
           13               Q.         All right.            And if we look at
           14        the very last paragraph of that section
           15        over in the right-hand column, the second
           16        to last sentence.                 Quote, "Although the
           17        processes for assessing quality are the
           18        same, authors" --
           19               A.         Hang on.          Hang on.
           20               Q.         Yes.
           21               A.         I am sorry, redirect me to that
           22        sentence.
           23               Q.         It's about halfway through to
           24        the spillover of the paragraph on the
           25        right-hand column.

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             1              A.         I got it.           It's a couple of
             2       lines above the 6.                  Got it.
             3              Q.         It reads "Although the
             4       processes for assessing quality are the
             5       same, authors of systematic reviews and
             6       authors of guidelines will apply the
             7       criteria differently."
             8                         Do you see that?
             9              A.         Yes.
           10               Q.         Do you agree that's an accurate
           11        representation of how authors of
           12        systematic reviews and authors of
           13        guidelines can apply the GRADE criteria?
           14               A.         Again, removed from its
           15        contexts, it would suggest that it's more
           16        arbitrary as opposed to back in context,
           17        recognizing that it's necessarily a fault
           18        with the system and, therefore, something
           19        which we need to do our best to mitigate
           20        by having as objective as possible, you
           21        know, the determinations of what, you
           22        know, how quality is assessed.
           23               Q.         If you can go ahead and turn
           24        with me now to page 6, excuse me, page 5
           25        of Exhibit 7.              The internal pagination is

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             1       page 405.
             2              A.         I am there.
             3              Q.         The heading 10, "Conclusion."
             4              A.         Yes.
             5              Q.         The first sentence the authors
             6       note "In closing, we caution against a
             7       mechanistic approach toward the
             8       application of the criteria for rating
             9       the quality of the evidence up or down."
           10                          Do you see that?
           11               A.         Yes, I do.
           12               Q.         Do you agree with that
           13        statement?
           14               A.         Yes, essentially.
           15               Q.         The last sentence of that
           16        paragraph goes on to say "Fundamentally,
           17        the assessment of evidenced quality is a
           18        subjective process and GRADE should not
           19        be seen as obviating the need for or
           20        minimizing the importance of judgment or
           21        as suggesting that quality can be
           22        objectively determined."
           23                          Do you disagree with that
           24        statement?
           25               A.         No, not really.

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             1              Q.         You say not really.                  What's the
             2       really part?
             3              A.         Well, it's the missing part of
             4       the obvious application of those specific
             5       sentences to, you know, to the particular
             6       conclusions relevant to this case.
             7                         What they were pointing out,
             8       perfectly legitimately, is that sometimes
             9       there is some wiggle room and some
           10        exceptions.
           11                          Well, what's missing is, of
           12        course, the rest of that argument.                                There
           13        is absolutely no evidence whatsoever to
           14        suggest that this is one of those
           15        exceptions.
           16                          Nobody has listed any of the,
           17        here is what the systemic reviews say and
           18        here is the part where we think they
           19        apply versus not.                 They simply ignore the
           20        systematic reviews.
           21                          So that -- well, I suppose,
           22        actually it's exactly the same as when
           23        discussing that there are potential
           24        theoretical exceptions among patients.
           25        Okay.

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             1                         There can be exceptions.                        But
             2       if we don't have a means of justifying
             3       which exception identifying those
             4       exceptions, how do we know that, in that
             5       example, a given particular patient is,
             6       is an exception.
             7                         The identification that
             8       exceptions can exist doesn't mean that
             9       this patient is such an exception.                                For
           10        this document, it indicates that there
           11        are potential exceptions for when rating
           12        particular studies or particular
           13        literature.
           14                          Well, what's missing is any
           15        evidence to suggest that the particular
           16        studies that are being used in the
           17        systematic review are such exceptions.
           18        The insinuated argument is that if they
           19        can never exist an exception, therefore,
           20        this is one.
           21                          Well, no, wait a second.
           22        Demonstrate or show evidence that the
           23        studies that are being concluded, that
           24        are being involved in the systematic
           25        reviews of outcomes of a medicalized

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             1       transition are such exceptions.                            They are
             2       not.
             3                         Also missing from the argument
             4       is exactly as I listed in my table.
             5       There have been multiple systematic
             6       reviews of this literature.                           And they all
             7       came to the identical conclusion.                             The
             8       only groups coming to a different
             9       conclusion are people who are the
           10        managers of the clinics and are in a
           11        financial conflict of interest over the
           12        results.
           13                          So what exactly is the evidence
           14        that, you know, it's that the
           15        subjectivity here is on the part of
           16        several public healthcare systems versus
           17        the commercial system in the U.S.
           18                          So as I say, my really is the
           19        insinuated argument of where that's going
           20        to lead, because there can exist
           21        exceptions, therefore the rule doesn't
           22        apply to the present circumstance.                                No,
           23        what we are missing is the evidence that
           24        this is one of those exceptions.                            There
           25        is no such evidence.

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             1              Q.         Okay.       So I want to -- you said
             2       something towards the end there that I
             3       want to follow-up on.
             4                         "The only groups coming to
             5       different conclusions are people who are
             6       managers of clinics and are in a
             7       financial conflict of interest over the
             8       results."
             9                         What's your basis for that
           10        statement?
           11               A.         Primarily I'm referring to the
           12        sets of experts whose reports I have been
           13        evaluating and comparing to the
           14        literature itself.                  Again, for this
           15        particular case there is only Dr. Baker
           16        itself.         But in the back of my mind it's
           17        the series of the same experts over and
           18        over again that I have been encountering
           19        in several different cases.                           I am
           20        including them.               And, of course, the
           21        various professional societies which are,
           22        they are in charge of defending guild
           23        interest and defending guild interests,
           24        period.         Such as groups such as the
           25        endochronological society, whose members

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             1       and funding come from the dues which are
             2       people who perform these procedures.
             3                         So, as I say, they are not
             4       being done by people or associations that
             5       lack a conflict of interest.                            They are
             6       coming from people and groups with a
             7       conflict of interest.
             8              Q.         Okay.       So let's focus on -- you
             9       refer to Dr. Baker, but it's Dr. Brady?
           10               A.         I am sorry.             Thank you very
           11        much.
           12               Q.         Let's talk about Dr. Brady.
           13        Dr. Brady is not the manager or director
           14        of a clinic, right?
           15               A.         Correct.          She said in her
           16        report that 100 percent of her practice
           17        was these patients.                   So, again, a
           18        conflict of interest.
           19               Q.         She's not a manager or director
           20        of a clinic, right?
           21               A.         That is correct.                    She's an
           22        exception.           As I say, in my head I am
           23        thinking of them as a large group and the
           24        important part is that they are in a
           25        conflict of interest.                     I refer to them as

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             1       directors, because the majority of them
             2       are.        But that is correct, she is an
             3       exception.           She's in the same conflict of
             4       interest, even though she's not the
             5       director of the clinic.
             6              Q.         Dr. Brady is a psychiatrist,
             7       right?
             8              A.         I don't remember if she said
             9       psychiatrist or psychologist.
           10               Q.         And sorry, and thank you for
           11        correcting me, she's a psychologist.
           12        She's not an M.D.                 Dr. Brady does not
           13        provide gender-affirming medical care,
           14        right?
           15               A.         Correct.          She doesn't provide
           16        medical care.              She conducts the mental
           17        health assessments which then enable the
           18        medical care.
           19               Q.         She does not herself provide
           20        medical care, right?
           21                          MR. RAMER:            Objection to the
           22               form.       Asked and answered.
           23               Q.         Let me strike that and ask it
           24        differently.             She herself does not
           25        perform gender-affirming medical care,

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             1       right?
             2              A.         Again, my hesitation is really
             3       just a quibble over words.                            The services
             4       she provides are not directly hormonal or
             5       surgical.          But because these decisions
             6       are being made on a team basis include,
             7       and the team includes medical
             8       interventions, that, again, that is part
             9       of a hospital, you know, in a meaningful
           10        way everything in the hospital counts as
           11        medical.          And there is many of the
           12        activists, you know, start including,
           13        refer to the entire process, including
           14        the assessments as medically necessary.
           15        But still require mental health
           16        assessment, as I said, what counts as
           17        medical, what counts as medical or not.
           18        And if she does it versus a psychiatrist
           19        doing it, it could be exactly the same
           20        report, but one counts as coming from one
           21        it's medical.              And coming from the other,
           22        it's not medical, even though it's the
           23        identical service.                  As I say, it starts
           24        becoming quibbling over what counts.
           25               Q.         Sure.       My question was really

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             1       directed toward prescription of puberty
             2       blockers and cross-sex hormone therapy.
             3              A.         Correct, she's a psychologist
             4       and would not be directly prescribing the
             5       hormones or performing the surgeries.
             6              Q.         And it's your belief that
             7       psychotherapy should be the first line of
             8       treatment, correct?
             9              A.         That is what the research is
           10        most consistent with, yes.
           11               Q.         So shouldn't Dr. Brady be
           12        advocating for more psychotherapy?
           13                          MR. RAMER:            Objection.
           14               Q.         Under her conflict -- sorry.
           15        According to your logic, shouldn't
           16        Dr. Brady be advocating for more
           17        psychotherapy and advocating against
           18        gender-affirming medical care?
           19                          MR. RAMER:            Objection to the
           20               form.
           21               A.         I don't know about should be.
           22        But -- I don't know what I could add to
           23        that.       I'm not sure if it should be.                         If
           24        100 percent of her clinical time is
           25        already accounted for, it's moot.

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             1              Q.         You think a source of
             2       compensation can have an undue influence
             3       on a person's perspective?
             4              A.         It certainly can, yes.
             5              Q.         And I believe that you've
             6       estimated that about 80 percent of your
             7       current income comes from expert services
             8       like this?
             9              A.         Last year and this year.                        I
           10        have no control over it.                        This is really
           11        up to the American legislatures, how
           12        quickly they pass these regulations and
           13        then how quickly they get sued.                            And
           14        then, you know, for many of them I get a
           15        phone call.            I have no reason to think
           16        that this is permanent.                       I can't help but
           17        point out that I am a scientist.                            Nobody
           18        becomes a scientist for the money.                                If
           19        money were my motivator, then I would
           20        have gone into, you know, clinical work
           21        to begin with.              But that, you know, I am
           22        a scientist.
           23                          By pure coincidence, you know,
           24        relatively late in my career, even though
           25        I have always, my entire career, just

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             1       given away to whoever would ask, you
             2       know, whatever information about my field
             3       I could.          This very bizarre,
             4       unpredictable wave in society has just
             5       changed how things work.
             6                         So I've, essentially, put my
             7       private practice primarily, most of it,
             8       on hold for as long as this lasts.                                And
             9       then, you know, presumably I will switch
           10        back when this is over, which could be
           11        anytime, which could be anytime.
           12               Q.         Would being paid by an advocacy
           13        group influence an opinion?
           14               A.         Again, it certainly can.                        But I
           15        haven't said anything, you know, in any
           16        of these cases that I haven't been saying
           17        for many years.               In fact, the thing that
           18        brought me to the attention of these
           19        groups was my fact-check of the AAP, now
           20        five years ago, on my own time.
           21        Perfectly free.               Just because the
           22        material, I could see what was going on.
           23        I could see that it was dangerous.                                What
           24        the public needed was the actual
           25        information.

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             1                         So just on my own time, because
             2       I am interested in the material, I just
             3       ran a fact-check.                 Well, at the time, it
             4       was the first, really, peer-reviewed
             5       publication on the subject, on the
             6       subject matter.
             7                         So when the various cases
             8       started coming forth, presumably, the
             9       various legal representatives needed to
           10        find an academic who knew the material,
           11        and there weren't many.                       There continue
           12        not to be many.               I am one of the few,
           13        because, exactly because I am already on
           14        record.         I have nothing to lose.                     I have
           15        nothing to defend.                  I have nothing really
           16        to gain.          I just switch what it is that
           17        my, my time is allocated to.                          And
           18        presumably, whenever this round of cases
           19        finishes, things will switch back.
           20               Q.         Dr. Brady could just as easily
           21        change her practice in the same way,
           22        right?
           23                          MR. RAMER:            Objection to form.
           24               A.         I have no idea.                 I have no idea
           25        what her other interests, expertise,

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             1       alternatives are.
             2              Q.         You have never practiced in the
             3       U.S. medical care system, right?
             4              A.         I volunteered for parts of it.
             5       I was a research assistant doing medical
             6       research at Boston VA Hospital.                            And then
             7       came to Canada.
             8                         MR. RAMER:            If there is a good
             9              breaking point coming up, we have been
           10               going about an hour.
           11                          MR. MAY:          I am coming up to one.
           12               Q.         Being compensated by a group
           13        that advocates for the provision of
           14        puberty blockers and cross-sex hormone
           15        therapies could influence a person's
           16        opinion, right?
           17               A.         Could, yes.
           18               Q.         And similarly being compensated
           19        by a group that advocates against the
           20        provision of puberty blockers and
           21        cross-sex hormone therapy could also
           22        influence an opinion, right?
           23               A.         It could.
           24                          MR. MAY:          We can go ahead and
           25               take a break.

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             1                         THE VIDEOGRAPHER:                   Thank you.
             2              This is the videographer.                        The time is
             3              3:17, and this ends media file 4.
             4                         (Off the record)
             5                         THE VIDEOGRAPHER:                   We are back
             6              on the record.               The time is 3:25.
             7              This begins media file 5.
             8                         MR. MAY:          We can go ahead and
             9              mark tab 25 as the next exhibit.
           10               Maybe we should have done that during
           11               the break.           I believe that will be
           12               Exhibit 8.
           13                          (Exhibit 8, Article entitled
           14               "GRADE Guidelines 4, Rating the
           15               Quality of Evidence, Study Limitations
           16               (Risk of Bias)" by Guyatt, et al., was
           17               so marked for identification, as of
           18               this date.)
           19        BY MR. MAY:
           20               Q.         Dr. Cantor, let me know when
           21        you have that up.
           22               A.         Got it.
           23               Q.         Exhibit 8 is an article
           24        entitled "GRADE Guidelines 4, Rating the
           25        Quality of Evidence, Study Limitations

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             1       (Risk of Bias)" by Guyatt, et al.
             2                         Do you see that?
             3              A.         Yes, I do.
             4              Q.         Are you familiar with this
             5       document?
             6              A.         Roughly.
             7              Q.         If you can turn with me to
             8       Section 8 of this article, which is page
             9       410 by the internal pagination.
           10               A.         I am there.
           11               Q.         The first paragraph, second
           12        sentence reads that "First, empirical
           13        evidence supporting the criteria is
           14        limited.          Attempts to show systematic
           15        difference between studies that meet and
           16        do not meet specific criteria have shown
           17        inconsistent results.                     Second, the
           18        relative weight one should put on the
           19        criteria remains uncertain."
           20                          Do you see that?
           21               A.         Yes, I do.
           22               Q.         And this is in a section titled
           23        "Limitations of GRADE's Approach of
           24        Assessing Risk of Bias in Individual
           25        Studies," right?

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             1              A.         Yes, and again, acknowledging
             2       their use of bias as not the synonym for
             3       prejudice.
             4              Q.         Absolutely.             This is bias in a
             5       very specific context, right?
             6              A.         Yes, it's in the scientific
             7       method version of bias meaning how close
             8       it is to a pressure pushing in a single
             9       direction.
           10               Q.         Absolutely.             Do you agree with
           11        GRADE's statements here in that first
           12        paragraph?
           13               A.         For at that time.                   I would have
           14        to go and look and see what's happened in
           15        the decade since.                 I also think it's fair
           16        to say that, again, with that sentence
           17        taken out of the broader context,
           18        something is missing, something gets
           19        lost.
           20                          The sentence by itself, you
           21        know, would suggest that, therefore, it
           22        ought not be itself used where that's not
           23        the alternative.                What's missing is if
           24        somebody can come up with a better
           25        system, great, let's test them.                            The

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             1       alternative is not, therefore, do what
             2       you want.          This is, this is the best we
             3       have until, you know, but we need to fine
             4       point and tweak and change criteria but
             5       nobody has found anything better yet.
             6              Q.         If we can turn to page 413 with
             7       the internal pagination of Exhibit 8.
             8              A.         Yes.
             9              Q.         And in the bottom right-hand
           10        column, the first full paragraph, it
           11        starts with the sentence "The possibility
           12        of discrepant judgments between
           13        intelligent and well-informed review
           14        authors is more than theoretical."
           15                          Do you see that?
           16               A.         Yes.
           17               Q.         Do you agree with that that
           18        it's possible for discrepant judgments
           19        between intelligent and well-informed
           20        review authors?
           21               A.         Yes, that's the reason why
           22        these assessments have to be done by
           23        several people and for them to be able to
           24        hammer out where there are disagreements.
           25               Q.         And the paragraph goes on to

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             1       discuss different studies of deep vein
             2       thrombosis in airline passengers taking
             3       long flights.              And if you turn to page
             4       414.        At the top of the page, the end of
             5       the spillover paragraph, it says that
             6       "Even after direct contact and discussion
             7       each group adhered to its own position,
             8       and it's possible that either group is
             9       correct."
           10                          Do you see that?
           11               A.         Yes.
           12               Q.         So possible for there to be
           13        reasonable disagreement among review
           14        authors even applying GRADE criteria,
           15        right?
           16                          MR. RAMER:            Object to the form.
           17               A.         Yes.      It is indeed possible.
           18               Q.         Okay.       You can put this aside
           19        for now.          I want to turn back to your
           20        declaration, Exhibit 1 and go to
           21        paragraph 108.
           22               A.         I am there.
           23               Q.         Here you're discussing the term
           24        "gender identity" in this paragraph,
           25        correct?

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             1              A.         Mostly, really I am discussing
             2       people's common, a popular definition of
             3       gender identity using a non-scientific
             4       one, and trying to attribute to it all
             5       kinds of scientific attributes.
             6              Q.         You disagree with the idea that
             7       gender identity could be defined as a
             8       person's inner sense?
             9              A.         It can't be scientifically
           10        defined as an inner sense.
           11               Q.         What do you mean by
           12        scientifically defined?
           13               A.         Objective, verifiable and
           14        falsifiable.
           15               Q.         And you say that it's
           16        increasing popular to do this.                           Are you
           17        saying this is a new phenomenon?
           18               A.         That what's a new phenomenon?
           19               Q.         Defining gender identity as a
           20        person's inner sense?
           21               A.         Yes and no.             It's use and
           22        application for decision-making is pretty
           23        new.        It's been used before as just a
           24        general description to kind of
           25        characterize a phenomenon, generally at a

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             1       time earlier in mental health, where all
             2       of mental health was really just a series
             3       of metaphors and general descriptions.
             4       But again, now, in the social media age
             5       and when being used to justify medical
             6       transition of minors, it's being given
             7       the weight and consideration, not merely
             8       of a general description, but as a
             9       concrete objective criterion to justify
           10        physical interventions.
           11                          Where, as I say, it was used,
           12        it was originally just used as a general
           13        metaphor.          But it's no longer being
           14        treated as a general metaphor.                           It's
           15        being treated as a physical objective
           16        unquestionable truth.                     That's what's new.
           17                          MR. MAY:          If we can please mark
           18               tab 31 as the next exhibit.                         I believe
           19               that will be Exhibit 9.
           20                          (Exhibit 9, Article titled "The
           21               Recalled Childhood Gender
           22               Identity/Gender Role Questionnaire,
           23               Psychometric Properties" by Zucker,
           24               et al., was so marked for
           25               identification, as of this date.)

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             1                         MR. BENIMOFF:               Exhibit 9 marked
             2              and renamed.
             3              A.         Got it.
             4              Q.         If you can go actually to the
             5       second page of Exhibit 9, which is the
             6       first page of the real article.
             7              A.         So internal page 470?
             8              Q.         No, internal page 469.                      Just
             9       the cover page of the pdf is the cover
           10        page?
           11               A.         The cover page with the
           12        abstract, yes?
           13               Q.         Yes.      So this is an article
           14        titled, "The Recalled Childhood Gender
           15        Identity/Gender Role Questionnaire,
           16        Psychometric Properties," by Zucker and
           17        others including yourself that was
           18        published in 2006, right?
           19               A.         Correct.
           20               Q.         Do you recall this article?
           21               A.         Really only vaguely.                   My
           22        participation was for the statistics.
           23               Q.         If you go to the second page of
           24        the article which on the internal
           25        pagination page 470 --

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             1              A.         Got it.
             2              Q.         -- you'll see here that it
             3       says, the first, the very first full
             4       sentence "Gender identity has been
             5       defined as a person's basic sense of self
             6       with regard to maleness and femaleness"
             7       and then it cites articles from 1965 and
             8       1968; do you see that?
             9              A.         That's right.
           10               Q.         Do you disagree with that
           11        statement?
           12               A.         Again, it depends on the
           13        context in which it's given.                          It's useful
           14        as a general descriptor of what's going
           15        on.        And in back of those days that was
           16        perfectly appropriate.                      But it's
           17        inappropriate to use that as a literal
           18        statement of a basic scientific truth
           19        that would justify, you know, objective
           20        and physical interventions which is how
           21        it's being used now.
           22               Q.         I am not really understanding
           23        what you mean by -- I am having trouble
           24        understanding what you mean by a basic
           25        scientific truth.

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             1              A.         Objective, verifiable,
             2       falsifiable.
             3              Q.         And isn't that the point of
             4       your design of the questionnaire in this
             5       article, in order to assess gender
             6       identity?
             7                         MR. RAMER:            Objection to the
             8              form.       And object, again, to not
             9              allowing the witness to finish his
           10               answer.
           11               A.         Yes, that was the purpose of
           12        the questionnaire.
           13               Q.         And that's to make gender
           14        identity verifiable and objective and
           15        falsifiable?
           16               A.         Towards that direction, yes.
           17        It wouldn't change the definition of
           18        gender identity.                It would be a measure
           19        that would -- so that if two different
           20        clinicians in two different clinics in
           21        two different countries for that matter
           22        administered the same questionnaire, we
           23        would expect them to get the same set of
           24        answers.          Therefore, we would be able to
           25        compare the outcomes of one clinic with

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             1       the outcomes of the other clinic, because
             2       they are both using the same, the same
             3       instrument.
             4                         But the instrument would not,
             5       no instrument can provide us with a
             6       definition of the construct that we're
             7       trying to measure.
             8              Q.         So you can use a survey in
             9       order to assess a person's gender
           10        identity; is that fair?
           11                          MR. RAMER:            Objection to the
           12               form.
           13                          And, doctor, before you start to
           14               answer.         Allow me to be able to
           15               interject the objections, thanks.
           16               A.         This isn't a survey.
           17               Q.         Apologies, a questionnaire.
           18                          MR. RAMER:            Same objection.
           19               A.         And what was the question
           20        again?
           21               Q.         Is it fair to say that you can
           22        use a questionnaire in order to assess a
           23        person's gender identity?
           24                          MR. RAMER:            Objection to the
           25               form.

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             1              A.         That's what we call an
             2       empirical question.                   We can only find out
             3       if it's possible by trying to do it and
             4       seeing if we're successful.
             5              Q.         The purpose of this 2006
             6       article here was to design such a
             7       questionnaire, right?
             8              A.         To contribute to the design of
             9       such a questionnaire in order to address
           10        some of the issues that are pertinent to
           11        the creation of such questionnaires.
           12               Q.         Has such a questionnaire been
           13        successfully designed?
           14                          MR. RAMER:            Objection to the
           15               form.
           16               A.         I can really only compare it to
           17        my, to my prior analogy about asking does
           18        surgery work.              There are many different
           19        kinds for many different purposes and
           20        there are many different possible
           21        answers.          It works for this but not that.
           22        It has high quality for this purpose, but
           23        not for that purpose.                     It can pick up on
           24        certain things, but not on other things.
           25        It may have, you know, strengths and

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             1       weaknesses in different contexts.
             2                         Any one, any, pretty much any
             3       one study is unlikely to unravel a
             4       complicated set of questions ranging from
             5       determining how valid a construct is all
             6       the way through finding a valid way of
             7       measuring that construct.                         So it's a
             8       contribution to that literature.                            Well,
             9       it's one paper contributing to that
           10        literature.            But it's very, very rare
           11        for, you know, any one study to
           12        single-handedly establish that kind of
           13        validity.
           14               Q.         You said that it's ranging from
           15        determining how valid a construct is all
           16        the way through finding a valid way of
           17        measuring that construct.                         Do you
           18        disagree with gender identity as a
           19        construct?
           20                          MR. RAMER:            Objection to the
           21               form.
           22               A.         That's kind of a circular
           23        question.          There are, for as long as
           24        people use different -- people use the
           25        phrase to mean different things in

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             1       different ways in different
             2       circumstances, and they can vary in the
             3       ways and circumstances in which it's
             4       valid.
             5                         So it's the -- so the unpacking
             6       is about is gender identity as being used
             7       in a given circumstance valid, but
             8       somebody else using it in another way in
             9       another circumstance, I guess, there can
           10        certainly be valid applications,
           11        applications of it that are valid in one
           12        circumstance, but not valid in another
           13        circumstance.
           14                          The identification of whether a
           15        construct is valid is -- my headphones
           16        are giving out.               Hold on, I am just
           17        switching speakers.                   Can you still hear
           18        me?
           19               Q.         Yes.
           20               A.         But can I still hear you?                       Say
           21        something clever and devastating.
           22               Q.         I hope you can still hear us.
           23               A.         Try again.
           24               Q.         Can you hear us now, doctor?
           25               A.         Thank you.            That was clever and

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             1       devastating, perfect.
             2                         So the research questions
             3       about, for establishing whether a
             4       construct is valid and for establishing
             5       how to measure a construct, go hand and
             6       hand.       One begets the other.                     The better
             7       our measures get, the more we can
             8       validate a construct.                     The more valid a
             9       construct is, the more directly we can
           10        establish a way to measure it.
           11                          So as I say, each one study
           12        kind of contributes to that cycle.                                But
           13        there is nothing about it that really
           14        allows us to say gender identity is
           15        valid.        That's part of that whole, part
           16        of that research we find and often do
           17        find it's valid in this way and this
           18        circumstance but not valid in that way or
           19        that circumstance.                  And it's from that
           20        theories of research that we find out
           21        what gender identity is.
           22                          But when the initial definition
           23        is merely an inner sense, well, you can't
           24        test an inner sense.                    It can't be used to
           25        determine the validity of a construct

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             1       and, as I say, you can't measure it.                              So
             2       that's what makes it not a valid
             3       scientific definition, even though some
             4       people find it an adequate descriptor
             5       when somebody's, when the phrase was
             6       first getting used, when somebody's main
             7       purpose was really to differentiate it
             8       from sexual orientation.
             9              Q.         So just looking back at this
           10        article, this defines gender identity as
           11        a person's basic sense of self.
           12                          Do you view a basic sense of
           13        self to be different from an inner sense
           14        of self?
           15               A.         Largely overlapping but not
           16        identical.           And the same issues apply.
           17        Again, when we wrote this paper, you
           18        know, these kinds of issues were not,
           19        were not controversial.                       The main purpose
           20        to defining gender identity was to
           21        differentiate it from, from sexual
           22        orientation.             But it wasn't getting used,
           23        you know, to make the kinds of dramatic
           24        physical objective decisions to which
           25        it's being applied now.                       In order to

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             1       justify, you know, objective physical
             2       dramatic interventions we need equivalent
             3       high level of research.                       A metaphor and
             4       analogy doesn't cut it in the way that it
             5       does in just getting a basic description.
             6              Q.         And while the goals in this
             7       article was to develop or contribute to
             8       the development of a questionnaire to
             9       measure and assess gender identity as
           10        defined as a basic sense of self, right?
           11               A.         I am hesitating on the "as
           12        defined."          Because to say as defined is
           13        to add that, and we know that this is the
           14        correct definition, and anything outside
           15        of that definition we would exclude,
           16        which is --
           17               Q.         I am just taking from what's in
           18        the paper.
           19                          MR. RAMER:            Objection to the
           20               form.       And objection, again, to
           21               counsel interrupting the witness's
           22               answer.
           23               A.         It's not just in the paper.
           24        The paper is one piece of a larger
           25        puzzle, together with all of its

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             1       references, the conversation going on
             2       around it and absent the current
             3       controversies around it.                        It was and
             4       theoretically still is always possible
             5       that during the development of such
             6       questionnaires that we find that, oh, it
             7       was the definition that we were using
             8       that was preventing us from coming up
             9       with whatever reliable or valid
           10        questionnaire as opposed to this, each
           11        one feeding the other kind of
           12        information.
           13                          But we can't in that cycle of
           14        measures and validity just say this is
           15        the definition and now our choice is to
           16        find something to measure that.                            No, no.
           17        We are giving this our best guess given
           18        what we have.              We might have to tweak the
           19        questionnaire or the instrument or we
           20        might have to tweak what we are using as
           21        the definition.               Each of these feeds what
           22        we know about the other.
           23               Q.         Does this paper, which has been
           24        marked as Exhibit 9, does it advocate for
           25        changing the definition of gender

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             1       identity, away from what's written in the
             2       beginning of the paper as a person's
             3       basic sense of self?
             4                         MR. RAMER:            Objection to the
             5              form.
             6              A.         No, not that I recall.
             7              Q.         And in the next paragraph it
             8       starts with "Over the years various
             9       assessment tools have been developed to
           10        measure both gender identity and gender
           11        role in children."
           12                          Do you see that?
           13               A.         Yes.
           14               Q.         Do you agree that gender
           15        identity is measurable?
           16               A.         Again, that's the same
           17        interrelated set of questions.                           There is
           18        nothing in this questionnaire or in my
           19        report that challenges the validity of
           20        gender identity itself.                       It challenges
           21        defining gender identity in a way that
           22        cannot be tested at all.
           23               Q.         This paper, though, defines
           24        gender identity as a person's basic sense
           25        of self with regard to maleness and

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             1       femaleness, right?
             2                         MR. RAMER:            Objection to the
             3              form.       Asked and answered.
             4              A.         No, not exactly.                    It
             5       acknowledges and describes that, you
             6       know, in the conversation, you know, in
             7       the literature to which it was
             8       contributing, that's the basic idea we
             9       were aiming for.
           10                          But that's not how the phrase
           11        is being used today which is to take that
           12        basic description and to accept it as a
           13        literal truth.
           14                          This paper was trying to find
           15        ways to tap into it but that's different
           16        from defining, concretizing, making
           17        unquestionable, leaving out the
           18        possibility that the definition was
           19        wrong:
           20                          This is a decent definition of
           21        gender identity, then we would be able
           22        to, and now we have a series of questions
           23        and the actual construct is the
           24        correlation matrix we call it, is the
           25        interrelatedness amongst each of the

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             1       variables that we have identified as
             2       associated with each other.
             3                         But to use a phrase such as
             4       inner sense and say, therefore, it cannot
             5       be, a person reporting it can't be
             6       questioned, that there can't be any
             7       physical evidence for it that we must
             8       take as literal truth, the person's
             9       self-report.
           10                          No, that's not a scientific.
           11        That is take a non-scientific or
           12        pre-scientific construct and switching
           13        from, in this paper, we would be taking
           14        something that was untested, with the way
           15        the phrase is being used now is to, as I
           16        say, express something as untestable.
           17               Q.         Your paper does not conclude
           18        that the definition laid out at the
           19        beginning of the paper is incorrect; does
           20        it?
           21               A.         Correct, in the context of the
           22        paper we were not -- it required only a
           23        general description of the phenomenon we
           24        were going after.                 There was nothing in
           25        the paper that was along the lines of

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             1       "because this is an inner sense,
             2       therefore," and then assuming the
             3       validity, the validity of it.                          It was
             4       asking questions.                 If this is what it is,
             5       then a person should give whatever series
             6       of answers.
             7                         For example, with a
             8       questionnaire, you know, once, after
             9       developed, one can administer
           10        questionnaires to groups of people which
           11        would in turn allow us to say these
           12        people are expressing this about their
           13        gender identity and those people are
           14        expressing that about their gender
           15        identity.
           16                          But if one simply stops and
           17        says that's a person's inner sense, well,
           18        then it's no longer possible to disagree
           19        with what somebody says their inner sense
           20        is.
           21               Q.         So I just want to redirect you
           22        back to my question, however.                          The paper
           23        does not conclude that the definition of
           24        gender identity that you laid out at the
           25        beginning of the paper is incorrect,

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             1       right?
             2                         MR. RAMER:            Objection to the
             3              form.       Asked and answered.
             4              A.         That was not the subject of the
             5       paper and not an indication of any of the
             6       results.
             7              Q.         If we can turn back to your
             8       declaration, Exhibit 1.
             9              A.         Got it.
           10               Q.         And I want to go to paragraph
           11        139, please.
           12               A.         Yes.
           13               Q.         So in this section of your
           14        report you distinguish between
           15        suicidality and suicide, correct?
           16               A.         Well, the research literature
           17        on them does, and I am just summarizing
           18        it.
           19               Q.         Sure.       You agree that
           20        suicidality is a serious issue, right?
           21               A.         Yes.
           22               Q.         And you agree that suicidality
           23        is something that should be addressed --
           24               A.         Yes.
           25               Q.         -- in a patient presenting?

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             1       Sorry.        You agree that suicidality is
             2       something that should be addressed in a
             3       patient that presents with indicators of
             4       suicidality?
             5              A.         Yes, absolutely.
             6              Q.         You go on to discuss, if we
             7       turn to paragraph 148, you discuss a
             8       systematic review in paragraph 148 by
             9       McNeil.
           10               A.         Yes.
           11                          MR. MAY:          I want to go ahead and
           12               pull that up.              So if we can please go
           13               ahead and mark tab 29 as the next
           14               Exhibit, Exhibit 10.
           15                          (Exhibit 10, Article entitled
           16               "Suicide in Trans Populations:                             A
           17               Systematic Review of Prevalence and
           18               Correlates," by McNeil, et al., was so
           19               marked for identification, as of this
           20               date.)
           21                          MR. BENIMOFF:               Exhibit 10 marked
           22               and renamed.
           23               A.         Got it.
           24               Q.         So Exhibit 10 is an article
           25        entitled, "Suicide in Trans Populations:

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             1       A Systematic Review of Prevalence and
             2       Correlates," by McNeil et al, right?
             3              A.         Yes.
             4              Q.         And this was published in 2017,
             5       and it's the same article that you cite
             6       in paragraph 148 of your declaration,
             7       right?
             8              A.         Yes, it is.
             9              Q.         I want to go ahead and skip
           10        forward to the discussion.                            And turn to
           11        page 8 of the article which is 348 by the
           12        internal pagination.                    And I apologize,
           13        this isn't skipping ahead to the
           14        discussion, this is still the results.
           15               A.         I am there.
           16               Q.         Do you see the heading for most
           17        of this page is entitled "Trans-Related
           18        Variables and Suicidality"?
           19               A.         Yes.
           20               Q.         And if you look to the bottom
           21        of the left-hand column basically towards
           22        almost the end of the column, McNeil
           23        reports that "In contrast, however" --
           24               A.         I am sorry, I thought you were
           25        reading from it, go ahead.

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             1              Q.         I am reading from the article,
             2       I apologize, if that's not clear.                             The
             3       left-hand column, bottom paragraph, and
             4       it's four or five lines from the bottom?
             5              A.         Yes.
             6              Q.         "In contrast, however, Bauer,
             7       et al (2015), reported less suicidal
             8       ideation for those undergoing a medical
             9       transition compared to those who were
           10        considering it."
           11                          Do you see that?
           12               A.         Yes, I do.
           13               Q.         And you don't disagree with
           14        that assessment by McNeil of the Bauer
           15        article?
           16               A.         I don't disagree with their
           17        describing the result.                      But again taking
           18        that out of context it's easy to
           19        misinterpret what it means or its
           20        indications, I should say.
           21               Q.         And if you go to the right-hand
           22        column, staying on this same page, the
           23        first full paragraph.                     And it starts with
           24        "In terms of the specific medical
           25        interventions that people might undergo,

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             1       Colton Meier, et al (2011), found a small
             2       but nonsignificant decrease in lifetime
             3       prevalence of suicide attempt among a
             4       group of trans men who were taking
             5       hormones compared to those who were not."
             6                         And then, "E.C. Wilson (2015),
             7       found that hormones related to a
             8       significantly lower rate of suicidal
             9       ideation in trans women receiving them
           10        compared to those who were not.                            Overall,
           11        Bauer, et al 2015, reported that
           12        receiving hormones was associated with
           13        decreased suicidal ideation in a mixed
           14        group compared with those who had not
           15        started hormone therapy."
           16                          Did I read that correctly?
           17               A.         Yes, that's what those say.
           18        But as I said, you know, when you kind of
           19        remove it from its context, that's easily
           20        misinterpreted to mean that there was a
           21        causal association between the two where
           22        they hadn't yet, none of those studies
           23        had yet ruled out the more mundane, the
           24        more parsimonious explanation.
           25                          As we were saying before the

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             1       successful transitioners are the ones
             2       that get through the real life
             3       experience, and so on, and are otherwise
             4       mentally healthy.
             5                         When you take a sample of
             6       people who have transitioned, you get a
             7       sample of people who were screened for
             8       mental health.              When you compare them to
             9       people who have not yet gone through that
           10        screening, the people with lower mental
           11        health are still in the sample.
           12                          So if you just compare one
           13        group with the other, you get a group
           14        from whom the mental health issues have
           15        been removed, compared to a group of
           16        people for whom the mental health issues
           17        had not yet been removed.
           18                          So, of course, there is a
           19        difference between the two, even though
           20        there is absolutely no evidence that it
           21        was the transition itself that caused the
           22        change in the levels of mental health
           23        between the two.
           24               Q.         All right.            We can go ahead and
           25        put McNeil aside.                 Can we turn to

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             1       paragraph 58 of your declaration, Exhibit
             2       1.
             3              A.         I am there.
             4              Q.         So in paragraph 58 you say that
             5       "People's self-reports do not represent
             6       objective evidence"?
             7              A.         That's correct.
             8              Q.         Are there any circumstances
             9       where subjective self-reporting could be
           10        the basis for medical interventions?
           11               A.         Sorry, say that again.
           12               Q.         Is there any circumstance in
           13        which subjective self-reporting could be
           14        the basis for some medical interventions?
           15               A.         Sure.       If it's a low risk
           16        intervention.
           17               Q.         What else besides when it's a
           18        low risk intervention can subjective
           19        self-reporting be the basis for medical
           20        intervention?
           21                          MR. RAMER:            Objection to the
           22               form.
           23               A.         I can't think of any.
           24               Q.         Are questionnaires evaluating
           25        an individual's subjective self-reporting

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             1       or objective evidence?
             2              A.         It depends on the content of
             3       the questionnaire and the method by which
             4       one obtains the sample.                       A survey
             5       typically consists of a series of face
             6       valid we call it, just direct open-ended
             7       questions, what you see is what you get.
             8       The question being asked means the
             9       question you're being asked.                          The person
           10        taking the survey takes a poll of who is
           11        going to vote for whom in whatever
           12        election tomorrow.                  As I say it's a face
           13        valid, obvious and easily manipulated
           14        series of answers.                  And anyone that wants
           15        to take the survey can take the survey,
           16        which leads itself to all kinds of
           17        problems, who has time for the survey or
           18        not.
           19                          People who feel more strongly
           20        about an issue can take it, and people
           21        who don't care are people who don't care.
           22        So when you get X percent think whatever
           23        it is they think, it's difficult to come
           24        to a conclusion, because anybody who
           25        wants to take the survey can take the

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             1       survey.
             2                         Questionnaires in the field,
             3       the sub-field or part of my field that
             4       does these calls them psychometric
             5       instruments, psychometric instruments,
             6       where it's not so obvious what the answer
             7       is and the investigator is looking for
             8       patterns amongst the answers to the
             9       question.          And there really is no correct
           10        answer, there is no correct answer at
           11        all.       And it's the way the questions
           12        cluster unto themselves in order to
           13        reveal an underlying pattern across them,
           14        is what's of interest.
           15                          And such questionnaires need to
           16        be what we call psychometrically valid.
           17        They need to have been independently
           18        determined to actually tap into whatever
           19        construct it is that that questionnaire
           20        is aiming at.
           21                          And a questionnaire would be
           22        applied in a specific circumstance to a
           23        particular kind of sample that was
           24        ascertained by the researcher in a
           25        specific way.

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             1                         So they can look similar in
             2       that it's a person answering questions,
             3       but the kinds of questions and the way
             4       the questions are administered and to
             5       whom it's administered are independent --
             6       are independent.                Where the
             7       questionnaire, the more formal and the
             8       more scientifically valid method allows
             9       us to come to more specific concrete
           10        observations.
           11               Q.         So you mentioned that there
           12        could be kind of a bias, you didn't use
           13        the word "bias," but I am going to ask
           14        you, is it appropriate to describe the
           15        way that -- strike that question.                             Let me
           16        start it over.
           17                          You mentioned the way that
           18        anyone who wants to take a survey can
           19        take a survey, can lead to all kinds of
           20        problems.          And is one of those problems
           21        bias in the sample?
           22               A.         Yes, we would call that a
           23        selection bias or ascertainment bias,
           24        typically.
           25               Q.         And then beyond the scientific

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             1       term of bias, can the individuals who are
             2       deciding to take the survey have a bias
             3       one way or another towards their
             4       perceived outcome of the survey?
             5                         MR. RAMER:            Objection to the
             6              form.
             7              A.         Possible, yes, certainly.
             8              Q.         And is that itself a different
             9       kind of scientific bias?
           10               A.         Different from?
           11               Q.         Or is it a subset of selection
           12        bias or ascertainment bias?
           13                          MR. RAMER:            Objection to the
           14               form.
           15               A.         That's a good question.                     That
           16        wouldn't be the terms I would use to
           17        describe that kind of a problem.                            Usually
           18        we would describe that as a problem with,
           19        with the validity of the survey.                            Usually
           20        ascertainment and selection bias refers
           21        to who is taking the survey rather than
           22        the behavior of the people once they are
           23        taking the survey.
           24               Q.         If a survey were exploring
           25        topic X, and that survey were advertised

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             1       to people primarily pro-topic X, how
             2       would that be described in terms of
             3       scientific bias?
             4                         MR. RAMER:            Objection to the
             5              form.
             6              A.         Usually we would call that a
             7       selection bias.
             8              Q.         Is that a problem if a survey
             9       exploring topics X is advertised
           10        primarily to people who are pro-topic X?
           11               A.         It depends on the content of
           12        the survey and how it's being, how it's
           13        being applied and interpreted.
           14                          There can theoretically exist
           15        -- if one has a bias sample but you're
           16        not asking questions -- but you're not
           17        coming to conclusions that depend on that
           18        bias, it's not going to make as much of a
           19        difference.
           20                          For example, to make up a
           21        generic example, if one used one's church
           22        group to do a survey, well, if you ask
           23        them about, you know, the nature of
           24        religion, you're not going to -- it
           25        wouldn't be valid from that to take that

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             1       percentage of Americans are this
             2       religious.           We have no reason to think
             3       that, because they would be biased in
             4       that specific way.                  But if we asked them
             5       other kinds of questions -- if we asked
             6       of the survey results or if we analyzed
             7       the survey results for a conclusion that
             8       people who get up early in the morning
             9       tend to have whatever kinds of jobs, well
           10        then the selection bias is less likely to
           11        be relevant, it's less likely to be
           12        relevant.
           13                          Even if we found that for
           14        example, churchgoers were more likely to
           15        wake up early in the morning.                            Fine.     But
           16        we would have much less of a reason to
           17        suspect that that would change the
           18        relationship between time of morning and
           19        recreational interest, and so on.
           20                          So such surveys are not
           21        automatically meaningless.                            But the
           22        amount of validity we could have, depends
           23        on how it's being analyzed, the questions
           24        that are being asked of the survey.
           25               Q.         I believe you previously

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             1       testified to this statement, but you
             2       agree that it's easier for advocates for
             3       people with one or another political
             4       persuasion to be able to effect a survey,
             5       right?
             6                         MR. RAMER:            Object to form.
             7              A.         In general, the transparency of
             8       the questions allows for that, yes.
             9              Q.         And advertising a survey on a
           10        particular website can mean that the
           11        results would reflect that website's
           12        bias, right?
           13               A.         Again, it depends on the
           14        content of the survey and the questions
           15        being asked.             It can be perfectly
           16        legitimate to advertise on a listserv of
           17        people who have an experience with
           18        whatever that experience is, because it's
           19        people with that experience or what
           20        you're trying to find out about.
           21                          A generic example if you want
           22        to know people's experience on cooking,
           23        you can run a survey on people who cook
           24        whatever it is that they cook.                           Well,
           25        that's perfectly fine, because that's the

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             1       thing that you're trying to measure.
             2                         But in a, again, in the context
             3       of these particular questions, you know,
             4       where there is a large controversy or a
             5       polarized debate going on, then surveying
             6       a group, you can't really say, you can't
             7       from surveying one side of that group and
             8       being able to conclude that whatever
             9       percentage of the public think whatever
           10        it is that you got from surveying from
           11        that, from that one side.                         So it depends.
           12                          MR. MAY:          Why don't we go ahead
           13               and take a break now before I go ahead
           14               and switch gears a bit.
           15                          THE VIDEOGRAPHER:                   Thank you,
           16               the time is 4:15, we are going off the
           17               record.
           18                          (Off the record.)
           19                          THE VIDEOGRAPHER:                   The time is
           20               4:25, we are back on the record.                           This
           21               begins media file 6.
           22        BY MR. MAY:
           23               Q.         Dr. Cantor, in your declaration
           24        you cite an article by Littman from 2018,
           25        right?

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             1              A.         Yes.
             2              Q.         And you're familiar with that
             3       article?
             4              A.         Yes.
             5                         MR. MAY:          So if we can go ahead
             6              and pull up what's been marked as
             7              Exhibit 11.
             8                         (Exhibit 11, Document titled
             9              "Correction:             Parent Reports of
           10               Adolescents and Young Adults Perceived
           11               to Show Signs of a Rapid Onset of
           12               Gender Dysphoria", was so marked for
           13               identification, as of this date.)
           14                          MR. BENIMOFF:               Exhibit 11 is
           15               marked and renamed.
           16               A.         Got it.
           17               Q.         All right.            Exhibit 11 is a
           18        document titled, "Correction:                          Parent
           19        Reports of Adolescents and Young Adults
           20        Perceived to Show Signs of a Rapid Onset
           21        of Gender Dysphoria."
           22                          Do you see that?
           23               A.         Yes.
           24               Q.         And this is a correction of the
           25        Littman article and a notice of the

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             1       republication of that article with the
             2       corrections made, correct?
             3              A.         Yes.      It's the editorial
             4       standard in that journal to call that
             5       corrections but one from that shouldn't
             6       apply the usual phrase correction that
             7       there was a mistake in error or something
             8       false in the original version.                           It's just
             9       that the editorial standard is that when
           10        there is any change to an article it's
           11        just called a correction.
           12               Q.         If we stick on the first page
           13        of Exhibit 11, under the heading
           14        "Emphasis That This is a Study of
           15        Parental Observations Which Serves to
           16        Develop Hypotheses."
           17                          The fourth line down, the
           18        sentence reads "Rapid onset gender
           19        dysphoria is not a formal mental health
           20        diagnosis at this time."
           21                          Do you see that?
           22               A.         Yes, correct.
           23               Q.         You agree with that statement,
           24        right?
           25               A.         Yes.

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             1              Q.         And a few lines down the
             2       sentence reads "Furthermore, the use of
             3       the term 'rapid onset gender dysphoria'
             4       should be used cautiously by clinicians
             5       and parents to describe youth who appear
             6       to fall into this category."
             7                         Do you see that?
             8              A.         I recall that that was a basic
             9       idea in here.              I am not seeing that
           10        sentence.          Where is it again?
           11               Q.         About halfway down the
           12        paragraph.
           13               A.         And what was the first word of
           14        the sentence?
           15               Q.         "Furthermore."
           16               A.         Yes, got it.
           17               Q.         So the statement "Furthermore,
           18        the use of the term 'rapid onset gender
           19        dysphoria' should be used cautiously by
           20        clinicians and parents to describe youth
           21        who here fall into that category."
           22                          Do you agree with that
           23        statement?
           24               A.         Yes.
           25               Q.         All right.            If we can turn to

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             1       page 3 of the correction notice, Exhibit
             2       11?
             3              A.         Got it.
             4              Q.         There is a heading called
             5       "Clarification of Study Designs, Methods
             6       and Related Limitations."
             7              A.         Yes.
             8              Q.         The last sentence of that
             9       entire section states that "For the
           10        current study selection bias may have
           11        resulted in findings that are more
           12        positive or more negative than would be
           13        found in a larger and less self-selected
           14        population.            Subsequent studies should
           15        address these issues."
           16                          Do you agree with that?
           17               A.         Yes.
           18               Q.         You agree that selection bias
           19        may have impacted Littman's findings?
           20                          MR. RAMER:            Objection to form.
           21               A.         May have, yes.                Again, my
           22        hesitation really is about the lion's
           23        share of that caution really applies to
           24        how one is going to -- this is what I was
           25        saying before, you know, about surveys in

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             1       general.          It depends on exactly what it
             2       is that one is going to conclude from
             3       those results.
             4                         For example, one would not want
             5       to use a survey like this to say, you
             6       know, X-percentage find whatever,
             7       characteristic or whatever somebody wants
             8       to pull out of it.                  But if one says, oh,
             9       my goodness there is a pattern of people
           10        who show more of this also show more of
           11        that.       Oh, that's interesting because we
           12        were expecting, whatever.                         Therefore, we
           13        need to ask more questions.
           14                          So it is indeed, because
           15        surveys are cheap and easy, you know,
           16        it's very often the first line, the first
           17        line of research.                 So again, with surveys
           18        and everything else, one wants neither to
           19        overinterpret nor underinterpret the
           20        potential implications.
           21               Q.         The next heading in the
           22        correction notice, Exhibit 11, is
           23        "Updated Information About Recruitment."
           24                          Do you see that?
           25               A.         Yes, I do.

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             1              Q.         And towards the bottom of page
             2       3, there is a sentence that starts with
             3       "This means that parents participating in
             4       this research may have viewed the
             5       recruitment information from one of at
             6       least four sites with varied
             7       perspectives.              Specifically, three of the
             8       sites that posted recruitment information
             9       expressed cautious or negative views
           10        about medical and surgical interventions
           11        for gender dysphoric adolescents and
           12        young adults and cautious or negative
           13        views about categorizing gender dysphoric
           14        youth as transgender."
           15                          Do you see that?
           16               A.         Yes, I do.
           17               Q.         Does that go along with the
           18        selection bias that we were discussing a
           19        little bit earlier?
           20               A.         Yes, essentially.
           21               Q.         Do you think it's a problem
           22        that this study was advertised, in the
           23        three out of four sites in which this
           24        study was advertised had cautious or
           25        negative views about medical and surgical

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             1       interventions for gender dysphoric
             2       adolescents and young adults and cautious
             3       or negative views about categorizing
             4       gender dysphoric youth as transgender?
             5                         MR. RAMER:            Objection to form.
             6              Compound.
             7              A.         I would hesitate with the word
             8       "problem."           It's a problem, it's more or
             9       less of a problem depending on what, you
           10        know, one wants to derive from it.                                It
           11        would be a huge problem if one is going
           12        to, as I say, you know, claim that the
           13        results are representative of the entire
           14        population.            That would be a problem.
           15        That would be a large problem.                           But to
           16        identify that, oh, this is not so rare,
           17        there are a chunk of people saying this
           18        not very obvious kind of thing.                            We
           19        should follow that up.                      That is
           20        perfectly -- that is perfectly
           21        legitimate.
           22                          Also, missing, also missing and
           23        what gets lost when this study is pulled
           24        out from the other studies and when
           25        individual sentences are pulled out from

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             1       this study.            One -- how does the saying
             2       go -- mistakes the forest for the trees.
             3       This is one piece that's consistent with,
             4       you know, several other different kinds
             5       of findings, all of which are pointing in
             6       a similar direction.                    No one of these
             7       studies provides any kind of a firm
             8       conclusion.
             9                         It's extremely rare outside of
           10        physics for any one study to definitively
           11        decide anything.                It's the overall
           12        pattern throughout many different
           13        studies, looking at several different
           14        things in several different ways and then
           15        having a tendency, all pointing in one
           16        direction and then somebody comes up with
           17        an explanation that best explains the
           18        entire set.
           19                          For this particular -- I
           20        hesitate to say finding, but the most
           21        relevant part of this finding was that
           22        parents were reporting that the kids
           23        started reporting feeling gender
           24        dysphoria after a relatively profound
           25        increase in uses of social media.                             Okay,

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             1       fine.       If that were the only piece we
             2       had, we really don't know what it means.
             3                         But, for example, in my report
             4       I included, you know, several very large
             5       representative epidemiological samples
             6       which showed all at exactly the same
             7       time, right around 2012, skyrocketing
             8       rates of depression, suicidality, anxiety
             9       disorders.           And it corresponds exactly to
           10        the large increases in gender dysphoria
           11        and to social media culture having taken
           12        on to youth.
           13                          So these are each completely
           14        independent, unrelated sources of
           15        information, all pointing in exactly the
           16        same year.           Year?        Era?        Within a year or
           17        two of each other.                  As I said, you could
           18        almost overlay each of these graphs on
           19        top of each other.
           20                          So when put together, what we
           21        see is no matter which way we look at it,
           22        no matter who looks at it, both here and
           23        in Europe, we keep finding the same
           24        thing.        Social media has revolutionized,
           25        not in a positive -- I guess I don't

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             1       really want to assign it positive or
             2       negative -- but in a dramatic way things
             3       have, the social interaction and social
             4       variables have drastically, drastically
             5       changed for youth.                  All at the same time.
             6       All coincident.               Not coincidental, but I
             7       mean all at the same time with the
             8       introduction of social media.
             9                         So in the context of all of
           10        these other findings the observation that
           11        parents of gender dysphoric kids noticed
           12        or say that they notice that the kids
           13        started reporting gender dysphoria after
           14        enormous amounts of use of social media.
           15                          As I was describing several
           16        other findings, all of these are pieces
           17        of the same puzzle and it's really
           18        difficult to come up with a better
           19        explanation to this pattern of findings.
           20        And as I keep saying, it's a pattern of
           21        findings.          If one just considered one
           22        finding at a time, in isolation from all
           23        of the others, there is no such thing as
           24        a perfect study.                We will always be able
           25        to find, you know, shortcomings of any

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             1       study.        It's a human endeavor.                      But put
             2       together, there is a very, very
             3       consistent pattern.                   All associated with
             4       the onset of social media.                            So that
             5       presents, you know, a very, again, I
             6       don't want to call it proof, but it
             7       provides people could legitimately debate
             8       over the word "compelling evidence," but
             9       very strong evidence or evidence that
           10        says that we need to take this
           11        possibility extremely seriously, that
           12        social media is driving all of this.
           13                          Nobody has presented, nobody
           14        has presented any theory, hypothesis,
           15        idea, explanation that explains nearly as
           16        well such a wide range of these otherwise
           17        completely independent observations.
           18               Q.         These are all correlative
           19        conclusions not causative conclusions,
           20        correct?
           21               A.         That's correct.                 There is no
           22        real good way to test causality in this
           23        one.        But as I say, nobody has come up
           24        with a better, with a better explanation.
           25               Q.         But you can't say that social

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             1       media exposure causes this presentation
             2       of gender dysphoria in adolescents that
             3       Littman reports on, right?
             4                         MR. RAMER:            Objection to form.
             5              A.         Correct.          We don't have a way
             6       to measure the causality of this one.
             7       The level of evidence for which we have
             8       is, as I say, it's the going theory.
             9       Nobody has a better one.                        No one has a
           10        better one, period.
           11               Q.         The Littman study does not tell
           12        you how common it is for adolescents to
           13        experience gender dysphoria based on
           14        exposure to social media, right?
           15               A.         Correct.          It's not a
           16        representative sample.
           17               Q.         The Littman study doesn't
           18        actually survey adolescents, right?
           19               A.         It surveys their parents.
           20               Q.         And Littman himself agrees that
           21        there may be aspects of the adolescent's
           22        life that the parents do not have full
           23        visibility into, correct?
           24                          MR. RAMER:            Objection.
           25               A.         Yes, that is possible.                    Again,

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             1       not just in this study.                       That's the
             2       nature of the study in youth, is that
             3       it's very common, very common, almost
             4       ubiquitous that the surveys are done of
             5       the parents.             We always try -- the field
             6       tries to get as many different sources of
             7       information as possible.                        One would, you
             8       know, do a survey of parents, of
             9       teachers, of their pediatricians, of the
           10        youth themselves when they are old
           11        enough.         And it's appropriate to the
           12        questions.           The research, the findings
           13        that are the most compelling are the ones
           14        where, as I said before, where we keep
           15        finding the same pattern no matter whom
           16        we ask.
           17               Q.         You would agree that LGBT youth
           18        often keep their sexual orientation
           19        and/or gender identity from their parents
           20        for some time, right?
           21                          MR. RAMER:            Objection to the
           22               form.       Compound.
           23               A.         That was very clearly true
           24        before the social media age.                          I am not
           25        aware of analogous research repeating

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             1       that in a rigorous way of the post-social
             2       media onset.
             3              Q.         What do you define as the onset
             4       of the social media age?
             5              A.         2011-ish, 2012-ish is when all
             6       of these variables seemed to have
             7       exploded.
             8              Q.         So if a person -- if an
             9       adolescent -- let me strike that and
           10        start over.
           11                          If an adolescent who is say
           12        16-years-old in 2004?
           13               A.         So they were born in --
           14               Q.         '88.
           15               A.         Okay.
           16               Q.         You would expect that -- you
           17        would not be surprised by a finding that
           18        that individual hid their sexual
           19        orientation or gender identity from their
           20        parent, if it was not heterosexual or
           21        cisgender?
           22                          MR. RAMER:            Objection to the
           23               form.
           24               A.         I don't think I would ever be
           25        surprised if somebody told me that they

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             1       hid it, hid their sexual orientation from
             2       their parents.              But again in the social
             3       media age and in the current environment,
             4       there is not a lot of any report that I
             5       would find surprising.                      It's exactly
             6       because so many youth are so strongly
             7       influenced by social media that -- I am
             8       skipping a step.
             9                         In sex research, which I have
           10        been at, you know, I want to make a joke
           11        about it, since they invented sex, we
           12        kind of take for granted that when you
           13        ask a person about their sexualities,
           14        their sex lives, their desires, their
           15        erotic backgrounds, their masturbation
           16        habits, and so on, we take for granted
           17        that what they tell us may not be the
           18        whole truth.             It doesn't necessarily mean
           19        they are lying, but it's hard to escape
           20        the social pressures, the self-delusions
           21        and stories that we tell ourselves that
           22        what they are telling us, especially in a
           23        first assessment meaning may not be the
           24        whole story.             That's always been true.
           25        Especially when it comes to any kind of

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             1       atypical sexuality, including atypical
             2       gender identities.
             3                         The methods that we have
             4       objectively to tell us about people's
             5       sexualities verify what we always took
             6       for granted that the objective variables
             7       do not always match what the person tells
             8       us about their sexualities.                           That was all
             9       before social media.
           10                          Social media itself has brought
           11        with it a culture that has only further
           12        increased, again, that has greatly
           13        increased the social pressure, the desire
           14        for people to tell the right answer, the
           15        focus on how somebody looks or will
           16        appear.         And so I, we, an objective sex
           17        researcher, is that much more in doubt
           18        that a self-report is the whole story or
           19        is accurate or can be taken at face
           20        value.
           21                          So as I say, now, if somebody
           22        tells me that they hid something from
           23        their parents, didn't hide something from
           24        their parents, there really is just about
           25        nothing that somebody can say that will

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             1       surprise me but by the same token, I, and
             2       I think anybody should take that much
             3       more of a -- I am not even sure if I
             4       should say critical or cynical -- that we
             5       can't take for granted, especially from a
             6       youth, especially from people, you know,
             7       with their own social vulnerabilities and
             8       mental health issues going on, that what
             9       they are telling us is the literal truth
           10        as opposed to how they want to be thought
           11        of, how they want to think of themselves.
           12                          So we have both problems.                        We
           13        have people who will, because of
           14        perceived social stigma, hide information
           15        from their parents, families, therapists,
           16        doctors, friends, whoever.                            But by the
           17        same token, other people who will
           18        exaggerate situations in order to gain
           19        from the sympathy of the people around
           20        them.        So in which cases is it being
           21        overestimated and in which cases is it
           22        being underestimated, we don't have an
           23        objective way to check all of these
           24        subjective reports.
           25               Q.         Dr. Cantor, do you recall what

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             1       my question was?
             2              A.         That's a good question.                      You
             3       were asking something that followed from
             4       the Littman study.                  That was it.             Would
             5       it be surprising if somebody said --
             6       would I be surprised if somebody said
             7       that they were hiding their sexual
             8       orientation from their parents.
             9              Q.         In 2004.          So I want to redirect
           10        you back to my original question?
           11               A.         I apologize, I don't know if I
           12        heard the 2004 part.
           13               Q.         If I can redirect you back to
           14        my original question, you would not be
           15        surprised by a finding that an individual
           16        who was 16 in 2004, born in '88, hid
           17        their sexual orientation or gender
           18        identity from their parent, if that
           19        person was not heterosexual or cisgender?
           20                          MR. RAMER:            Objection to the
           21               form.        Asked and answered.
           22               A.         I wouldn't be surprised about
           23        that.
           24               Q.         Is it fair to say that
           25        teenagers and adolescents may conceal

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             1       their sexual orientation from their
             2       parents?
             3              A.         Sure.
             4              Q.         And it's fair to say that still
             5       holds true today as much as it did in
             6       2004?
             7              A.         No, that's where I insert my
             8       long answer is how much has changed
             9       between then and now is that we can't so
           10        easily generalize habits from then or
           11        experiences from then to now.
           12               Q.         Do you think -- is it still a
           13        likelihood that an adolescent will
           14        conceal their sexual orientation from
           15        their parent?
           16                          MR. RAMER:            Objection to the
           17               form.
           18               A.         That's a good question.                      I
           19        don't think anybody knows.                            I am not
           20        aware of that kind of a question, those
           21        kinds of questions really being asked in
           22        contemporary surveys.                     Different kinds of
           23        questions have become, for lack of a
           24        better word, fashionable.
           25               Q.         Would it surprise you if a

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             1       teenager or adolescent came to you and
             2       told you that they were concealing their
             3       sexual orientation from their parents?
             4                         MR. RAMER:            Objection to the
             5              form.
             6              A.         If a person said that today,
             7       no, that would not be surprising.
             8              Q.         Would you be surprised if a
             9       teenager or adolescent today told you
           10        they were concealing their gender
           11        identity from their parents if that
           12        gender identity was not cisgender?
           13                          MR. RAMER:            Objection to the
           14               form.
           15               A.         Again, I wouldn't be surprised
           16        if they said that.                  But I still would not
           17        be sure that it's the whole story,
           18        either.
           19               Q.         Okay.       So in this hypothetical
           20        a 17-year-old comes to you and says I've
           21        been feeling like I may not, that my
           22        gender identity may not align with my
           23        biological sex.               I haven't told anything
           24        about this to my parents.                         But I am
           25        feeling strongly that I may be

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             1       transgender.             Do you have any reason to
             2       suspect that this hypothetical individual
             3       would be lying to you?
             4                         MR. RAMER:            Objection to the
             5              form.
             6              A.         Lying wouldn't be the right --
             7       I would not readily use the word "lying."
             8       Much more common and, therefore, my first
             9       set of, you know, next pile of assessment
           10        questions would be whether the person is
           11        mistaken in labeling what it is that they
           12        are experiencing.
           13                          If they, for example, use the
           14        terms you did which are the terms
           15        ubiquitously going around the, around
           16        social media, I still don't know what
           17        this person's actual experience is and
           18        what it is that they are using those
           19        terms to describe.                  So I would actually
           20        skip all of the popular buzz words and
           21        conclusions and jump right to exactly
           22        what it is that you're feeling.                            How long
           23        have you been feeling it.                         Under what
           24        circumstances.               And then I would start
           25        presenting that some people say, some

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             1       people say, there are other people who
             2       say, in order to broaden the other
             3       possibilities in order to start getting
             4       an idea of, you know, what the person's
             5       actual experience is and then, you know,
             6       what happens, what we know about other
             7       people who describe those kinds of
             8       experiences.
             9                         If I start out with I think I
           10        am transgender, at this point those words
           11        aren't meaningful anymore.                            They are just
           12        kind of a generic stamp at this point
           13        that people use for many different
           14        purposes.           But they are not lying.                        In
           15        general, they are using the only
           16        vocabulary that they have to describe it.
           17        They are using terms that they see
           18        everybody else using.
           19                          But my clinical or any standard
           20        clinical assessment actually would be to
           21        jump over that secondary vocabulary into,
           22        all right, what's going underneath the
           23        surface.
           24               Q.         Okay.       So with that same
           25        hypothetical patient.                     After you have

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             1       seen them for a couple of sessions or as
             2       long as you need to make an appropriate
             3       assessment, you come to the conclusion
             4       that they meet the criteria for gender
             5       dysphoria under the DSM.
             6                         Would you still believe them if
             7       they said they had not told their parents
             8       that they were, that they had feelings of
             9       a gender identity, a gender identity that
           10        did not align with their biological sex?
           11                          MR. RAMER:            Objection to the
           12               form.
           13               A.         Again, there are a couple of
           14        things built into that question, one of
           15        which is that the DSM-5 would actually
           16        not be relevant to such a, such a case.
           17        The DSM-5 criteria predate all of the
           18        outcome studies on adolescent onset
           19        gender dysphoria.
           20                          The research that was available
           21        in 2013, there existed one outcome study
           22        of kids who transitioned.                         We didn't have
           23        the information.                We didn't have the
           24        information.             We didn't get have this,
           25        you know, explosive increase in

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             1       adolescent onset cases.                       So its validity
             2       for diagnosing adolescents is zero.                                 As I
             3       say, the DSM doesn't cover adolescent
             4       onset cases.
             5                         Now I am kind of working in the
             6       assumption that this is an adolescent
             7       onset case because they are today the
             8       great, great majority of the adolescents
             9       who are coming in.                  Before 2012-ish,
           10        before the DSM-5, there were basically
           11        none.        We had the prepubescent kids
           12        coming in and we had middle-aged adults
           13        coming in.           Barely anybody in between.
           14        That's why we had the adult or late onset
           15        cases or the childhood or early onset
           16        cases.
           17                          So if somebody comes in at 17,
           18        really, my initial questions are about
           19        when did this start.                    Is this new.               Is
           20        this something that just began.                            You
           21        know, is it adolescent onset or is this a
           22        kid who was always ridiculed, bullied,
           23        who is very clearly different from his or
           24        her peers, really since childhood.                                 Is it
           25        a childhood onset case.                       And knowing the

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             1       difference between those, you know, keys
             2       in, you know, very, very different parts
             3       of the literature as relevant.
             4                         If it were an adolescent onset
             5       kind of case, again, nope, nothing would
             6       surprise me, including that they didn't
             7       tell their parents.
             8                         If it were a childhood onset
             9       case, the question becomes moot.                             Even if
           10        they didn't say anything out loud to
           11        their parents, their parents very likely
           12        would have, you know, already figured
           13        this out, even before the kid did.                                 As I
           14        say, the childhood onset cases stick out
           15        for better or for worse.
           16                          To back up a step, therefore,
           17        whether they meet DSM-5 criteria is not
           18        really pertinent because the DSM-5
           19        criteria aren't what was used in the
           20        research that we have about the outcomes
           21        for most of these, most of these youth.
           22               Q.         One of the things you mentioned
           23        that even if they didn't say anything out
           24        loud to their parents their parents very
           25        likely would have already figured that

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             1       out?
             2              A.         For childhood onset cases, yes.
             3              Q.         You agree that's still
             4       different than the child coming out to
             5       their parents as having and revealing
             6       that they recognize they have a different
             7       gender identity than what aligns with
             8       their sex from birth?
             9              A.         Yes.
           10                          MR. RAMER:            Objection to the
           11               form.
           12                          THE WITNESS:              Sorry.
           13                          MR. RAMER:            Objection to the
           14               form.
           15               Q.         So that adolescent who had been
           16        -- strike that.
           17                          That adolescent who had been
           18        displaying signs of gender congruence,
           19        gender dysphoria going back to childhood,
           20        could still be themselves concealing
           21        their gender identity from their parents?
           22                          MR. RAMER:            Objection to the
           23               form.
           24               A.         Yes, that again wouldn't, would
           25        not surprise me.

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             1              Q.         Turning our attention back to
             2       the Littman paper, but not specifically
             3       the correction.               I want to turn to your
             4       declaration in paragraph 136, your
             5       declaration being Exhibit 1.
             6              A.         Yes.
             7              Q.         Paragraph 136 you discuss the
             8       Littman paper, right --
             9              A.         Yes.
           10               Q.         -- among other articles, fair?
           11               A.         Yes.
           12               Q.         And you have a footnote 5 there
           13        about the corrections to the Littman
           14        article.
           15                          And you say that the relevant
           16        results were unchanged between the
           17        original article and the revised article,
           18        right?
           19               A.         Yes.
           20               Q.         Are you familiar with both
           21        versions of the Littman article, both the
           22        original and the revised?
           23               A.         No.
           24               Q.         Were there any new hypotheses
           25        or conclusions that Littman laid out in

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             1       the revised article that were not in the
             2       original one?
             3              A.         Sort of.          The range of
             4       potential explanations was expanded.                               As
             5       I say, the findings themselves were
             6       unchanged.
             7                         MR. MAY:          If we can go ahead and
             8              mark tab 27 as the next exhibit, which
             9              I believe will be Exhibit 12.
           10                          (Exhibit 12, Research article
           11               titled "Parent Reports of Adolescents
           12               and Young Adults Perceived to Show
           13               Signs of a Rapid Onset of Gender
           14               Dysphoria" by Littman, was so marked
           15               for identification, as of this date.)
           16                          MR. BENIMOFF:               Exhibit 12 marked
           17               and renamed.
           18               A.         There it is.
           19               Q.         So Exhibit 12 is a research
           20        article titled, "Parent Reports of
           21        Adolescents and Young Adults Perceived to
           22        Show Signs of a Rapid Onset of Gender
           23        Dysphoria," by Littman.
           24               A.         Yes.
           25               Q.         That was the revised version of

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             1       the Littman article, right?
             2              A.         That's a good question.                      I
             3       would have to compare both in my, in my
             4       notes to double check.                      But I have no
             5       reason not to take your word for it.
             6              Q.         I will represent to you that it
             7       is the revised one.
             8              A.         Okay.
             9              Q.         If we can turn to page 34 of
           10        Exhibit 12.
           11               A.         I am there.
           12               Q.         It's going to be the sections
           13        spanning pages 34 and 35.                         Do you see
           14        this hypothesis, "Two parental conflict
           15        may provide alternative explanations for
           16        selective findings"?
           17               A.         I see the section, yes.
           18               Q.         And I will represent to you
           19        that this is new in the revised version
           20        of the article.
           21               A.         Okay.
           22               Q.         Is this one of the range of
           23        potential explanations that was expanded
           24        that you referenced earlier?
           25                          MR. RAMER:            Objection to the

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             1              form.
             2              A.         I can't say and I don't
             3       remember saying exactly which of the
             4       hypotheses were kind of alternative
             5       explanations were there.                        But that,
             6       again, is not pertinent, I don't want to
             7       say that I even have a conclusion.                                 It's
             8       that the scientific term that we have is
             9       the principle of parsimony.
           10                          For any correlation there are
           11        necessarily several different
           12        explanations.              So when we look at any one
           13        correlation, there is always any number
           14        of possible ways to explain it.
           15                          What, as I was describing
           16        before, the part that's, that makes this
           17        strong evidence is that one of these
           18        hypotheses, the association with social
           19        media, is consistent with several others
           20        of these findings entirely independent of
           21        this, looking at entirely different
           22        variables investigated by, as I say.
           23                          So if we line up the, oh, this
           24        from this study goes together with that
           25        study, with that study, with that study,

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             1       with that study.                So that one hypothesis,
             2       this is written by social media, explains
             3       a wide range of very diverse findings.
             4       That's what makes a compelling, strong,
             5       important theory and the theory to beat.
             6       When we isolate to one of the papers or
             7       one set of correlations, yeah, no, we can
             8       add as many alternative possibilities for
             9       that one finding as we want.
           10                          But these others, parental
           11        conflict might provide alternative
           12        explanations.              That doesn't explain the
           13        coincidental timing of things exploding
           14        for the entire generation for all of
           15        these other variables, all happening at
           16        exactly the same time.
           17                          Is it theoretically possible
           18        that each of these things has its own
           19        independent cause?                  Sure, that's
           20        theoretically possible.                       But the
           21        scientifically superior explanation is,
           22        as I said, the principle of parsimony, is
           23        that the more you can explain with one
           24        theory, makes that the theory to beat.
           25                          And so the idea that this is

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             1       driven by social media explains not only
             2       one of these hypotheses, but all of those
             3       others.         So, yeah, no, we can add as many
             4       other hypotheses as we want, but the
             5       principle of parsimony points us to one
             6       of them.
             7              Q.         So redirecting you back to
             8       Hypothesis 2 about parental conflict
             9       might provide alternative explanations
           10        for selected findings, Littman reports
           11        that almost half of the -- if you go to
           12        the second and third lines -- "almost
           13        half of the AYAs" -- which I believe is
           14        an abbreviation for adolescents and young
           15        adults -- "withdrew from family, 28.5
           16        percent refused to speak to a parent and
           17        6.8 percent tried to run away."
           18                          Do you think it's still
           19        reliable to rely on parental reports from
           20        parents whose children refused to speak
           21        with them.
           22                          MR. RAMER:            Object to form.
           23               A.         If that were the only variable
           24        available, then it would be hard to
           25        choose amongst the potential

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             1       hypotheses -- well, explanations rather
             2       than hypotheses.
             3              Q.         These are all hypotheses,
             4       right?
             5              A.         These are evaluations of those
             6       hypotheses.            Again, I wouldn't have
             7       called them hypotheses.                       I would have
             8       reserved that term in the traditional
             9       way.
           10                          The hypothesis is the idea that
           11        you have, you know, before conducting the
           12        study and the idea that you're trying to
           13        either falsify or, you know, gather,
           14        gather support for.
           15                          These are, you know,
           16        hypothesized explanations for data that
           17        were already gathered.                      I wouldn't use
           18        the word "hypothesis" for that.                            But
           19        again, that's within the journal's
           20        editorial discretion.
           21               Q.         Let me take you back to Exhibit
           22        11, which was the correction notice for
           23        the Littman study.
           24               A.         I am there.
           25               Q.         Sticking with page 1, the first

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             1       bold heading that we looked at earlier is
             2       this is an "Emphasis That This is a Study
             3       of Parental Observations Which Serves to
             4       Develop Hypotheses."
             5                         And she explains that the study
             6       serves to develop hypotheses that rapid
             7       onset gender dysphoria is a phenomenon,
             8       and that social influences, parent-child
             9       conflict and a maladaptive coping
           10        mechanisms may be contributing factors
           11        for some individuals, right?
           12               A.         Yes.
           13               Q.         The purpose of surveying the
           14        data is to generate hypotheses; do you
           15        agree with that?
           16                          MR. RAMER:            Objection to form.
           17               A.         I would hesitate to narrow down
           18        the purpose to a single one.                           Usually
           19        that expression is used in order to, as a
           20        reminder of how non-conclusive surveys
           21        are when, you know, trying to investigate
           22        or flesh out a theory and that it's
           23        purpose is not to be conclusive, it can't
           24        be conclusive.               It's to help develop, oh,
           25        look, these are associated.                           We should

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             1       look at that, look at that more.
             2              Q.         You can put this aside for
             3       right now.           Let's turn back to your
             4       declaration, Exhibit 1.                       And if we can go
             5       ahead and turn to paragraph 245.
             6              A.         I am there.
             7              Q.         Would you agree that desistance
             8       is less likely to occur past the age of
             9       12, right?
           10               A.         In childhood onset cases,
           11        unfortunately a lot of people kind of use
           12        that for anyone over 12, you know, and
           13        including people for whom it only just
           14        started when really that phrase only,
           15        that conclusion only applies to people
           16        for whom it was prepubertal onset and
           17        persisting into adolescence, not just
           18        anybody in adolescence.
           19               Q.         So for a child that presents
           20        prepubertal with symptoms consistent with
           21        gender dysphoria, once puberty, once
           22        puberty has begun, and that child
           23        continues to display signs of gender
           24        dysphoria, you would agree that that
           25        child is likely not to desist?

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             1                         MR. RAMER:            Objection to the
             2              form.
             3              A.         Close.        The part that's not
             4       exactly accurate is to say once puberty
             5       has started.             There is no such sharp
             6       line.        It's not, you know, last month was
             7       prepubertal.             This week is, this month is
             8       pubertal.           Therefore, you know, this kid
             9       is going to persist.                    As these studies
           10        were coming out, it was generally over
           11        the course of puberty and a sex drive
           12        kicked in, the kids generally started
           13        figuring out that they were gay or
           14        lesbian, because they were experiencing
           15        sex drive and their first crushes and
           16        masturbatory fantasies, and so on.                                 But
           17        even though the studies were, you know,
           18        just referring to puberty as the general
           19        era, people with a motivation to, that
           20        medicalized transition should begin as
           21        quickly as possible, started just saying
           22        the beginning of puberty where none of
           23        these studies really said the beginning
           24        of puberty.
           25                          But as I said and you almost

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             1       said, a kid with prepubertal, before
             2       puberty, generally it's from the get-go
             3       and continue after, after most of puberty
             4       and into adolescence.                     Those are unlikely
             5       at that point, it seems to desist for
             6       that minority for who that happens.                                 Most
             7       of them desist, but not all of them.
             8              Q.         And for those who do not
             9       desist, do you think that prescription of
           10        puberty blockers can be appropriate for
           11        some of those individuals?
           12                          MR. RAMER:            Objection to the
           13               form.
           14               A.         That's the open empirical
           15        question for which we have, you know,
           16        only mixed evidence.                    You know, so there
           17        are some cases for which it appears to be
           18        the case.           But we can't figure out, we
           19        haven't found a way to figure out for
           20        which cases.             And there are some, several
           21        studies, and again I summarize them each
           22        in my report, that it doesn't make a
           23        difference to their mental health.                                 Some
           24        get better.            Some don't.              And it doesn't
           25        seem to be strongly related to a

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             1       medicalized transition.                       So we can't say
             2       it's impossible.                But we can't say, you
             3       know, for the cases for which it does
             4       seem to be legitimate, we haven't yet
             5       figured out how to predict which of those
             6       it is, which leads us, of course, to the
             7       policy question is, well, if we can't
             8       identify which ones it is, and it is
             9       interfering with the healthy development
           10        of healthy functioning tissue, now we're
           11        at the risk/benefit ratio.                            It's how much
           12        risk to how much harm relative to how
           13        good is the evidence to how much benefit.
           14                          And by and large we have,
           15        exactly, as I elucidated in my report, we
           16        don't have any evidence that it does any
           17        good -- it does any better on average
           18        than mental health treatment and
           19        psychotherapy.
           20               Q.         If we can turn to paragraph 114
           21        of your declaration, Exhibit 1.
           22               A.         I am there.
           23               Q.         I actually want to talk about
           24        the heading above that, it says that 11
           25        cohort studies follow children not

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             1       permitted social transition, all showing
             2       the majority to desist feeling gender
             3       dysphoric following follow-up after
             4       puberty.
             5                         How do you define the phrase
             6       "social transition," as you use it here?
             7              A.         That really wasn't pertinent to
             8       the studies themselves because there was
             9       no in-between or partial status in those
           10        studies.          The kids were still being
           11        treated.          Had the name.               Used the gender
           12        and pronouns of their biological sex.
           13        These weren't cases where it was
           14        ambiguous or there were certain
           15        circumstances where they presented one
           16        way, and in other social areas where they
           17        presented another way.
           18                          The contrast is between these
           19        11 studies and the Olson study where the
           20        kids had already socially transitioned.
           21        There might have been a handful of
           22        exceptions, but they were nearly 100
           23        percent of them.                But again, it was not
           24        particularly ambiguous that those kids
           25        had socially transitioned.                            They had a

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             1       new name.           New set of pronouns.                   And so
             2       on.        But there hasn't been any study
             3       amongst the prepubertal onset cases where
             4       anybody was looking at particular aspects
             5       of social transition, amounts of social
             6       transition, pockets of their lives in
             7       which they did versus did not transition.
             8                         All we have are the results
             9       from this now 12 studies and the one
           10        which did have transition was a pretty
           11        complete social transition.                           And the ones
           12        that didn't transition, essentially,
           13        didn't transition in any way before
           14        puberty.
           15               Q.         So I am just trying to make
           16        sure that we are all talking about the
           17        same thing.            I am trying to understand
           18        what's your definition of social
           19        transition?
           20                          MR. RAMER:            Objection to the
           21               form.        Asked and answered.
           22               A.         I am not giving a definition of
           23        social translation.                   I am describing what
           24        happened in these studies.
           25                          Now, of course, I have no

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             1       trouble acknowledging that, as I said,
             2       there are mixes and ambiguous
             3       circumstances where a person can do this
             4       in different ambiguous ways or in
             5       different ways, in different pockets of
             6       their life.            But in describing this set
             7       of studies, none of that ambiguity was,
             8       was present.
             9              Q.         This is not a trick question.
           10               A.         I didn't know there was such a
           11        thing.
           12               Q.         You may be thinking about it a
           13        little too hard.                I am just trying to
           14        understand, to make sure we are all
           15        discussing the same thing.                            What are you
           16        describing as a social transition?
           17                          MR. RAMER:            Objection to the
           18               form.        Asked and answered.
           19               A.         I am not describing anything.
           20        I'm reciting and summarizing what the
           21        studies contained.
           22               Q.         So what I am trying to
           23        understand is using a different name than
           24        the name given -- strike that question.
           25                          Is using a different name than

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             1       the name that was given to you by your
             2       parents an aspect of social transition?
             3                         MR. RAMER:            Objection to the
             4              form.
             5              A.         It can be.
             6              Q.         Is using different pronouns
             7       than aligned with biological sex a form
             8       of social transition?
             9                         MR. RAMER:            Objection to the
           10               form.
           11               A.         Again, it can be.                   But just as
           12        with, you know, several of the other
           13        questions, no one of those is ah-ha
           14        that's the line.                It's the accumulation
           15        of, you know, several of them and it
           16        becomes more and more ambiguous, you
           17        know, in between and then less and less
           18        ambiguous at the other extreme.                            When
           19        going from none of the options are being
           20        used by the kid to every option available
           21        to the kid is being used.                         And then in
           22        between are the different pockets,
           23        different circumstances, different ways
           24        or the use of ambiguous pronouns or an
           25        ambiguous name.               And which of them

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             1       defines social transition?                            That's one of
             2       the empirical questions which remains
             3       uninvestigated.
             4                         So I don't have, I am not using
             5       a definition, a definition of social
             6       transition and these studies also, it
             7       became moot because none of them had an
             8       in-between status, they were all pretty
             9       much all untransitioned or pretty much
           10        all entirely transitioned.                            So I don't
           11        need to generate a definition that I am
           12        not using.
           13               Q.         So what are the various factors
           14        that could be considered in whether or
           15        not there has been a social transition?
           16                          MR. RAMER:            Objection to the
           17               form.
           18               A.         I am still back to that being
           19        an empirical question.                      When most people
           20        discuss it, they are generally referring
           21        to some combination of changing names and
           22        changing pronouns, but there are also
           23        sometimes unspoken assumptions that go
           24        along with it, such as how the kid thinks
           25        of themselves:               How they are being

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             1       treated by the different people that
             2       they, that they interact with.                           Those are
             3       legitimate associated ideas, but in order
             4       to know which of those really counts is
             5       one of our validity questions.                           We need
             6       to be able to test which of those or the
             7       combination of those or accumulation of
             8       exactly which of those choices helps us
             9       predict the trajectory that the kid is
           10        on.
           11                          If we find that a certain
           12        number of the choices or a certain
           13        combination of the choices is more versus
           14        less likely to lead to a successful
           15        outcome or unsuccessful outcome in one
           16        direction or the other direction, now we
           17        have an objective way of knowing which
           18        ones do and do not count.                         But we don't
           19        have such research allowing us to
           20        reliably predict that trajectory.                              So we
           21        only have our, scientifically we only
           22        have a best guess.                  But in communicating
           23        with, you know, society, experts, policy
           24        makers, other scientists, parents,
           25        families and so on, again my usual

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             1       question is how do they want to use the
             2       phrase.         What do they mean by it, so I
             3       can understand what they're saying.
             4              Q.         Right.        Which is why I am
             5       trying to understand what you're saying
             6       when you wrote the words "social
             7       transition."
             8              A.         I am using --
             9                         MR. RAMER:            Objection, objection
           10               to the form.             Asked and answered.
           11               A.         I am using what those
           12        scientists did, which didn't -- because
           13        everything was so far from the line, they
           14        didn't need and, therefore, I don't need
           15        and can't offer more detailed definition
           16        that could be applied to who was over and
           17        under that line.
           18                          MR. RAMER:            If you have a
           19               breaking point coming up, we have been
           20               going about an hour.
           21               Q.         If you go to paragraph 120 of
           22        your declaration?
           23               A.         120 you said?
           24               Q.         Yes.
           25               A.         I am there.

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             1              Q.         And the heading says "One
             2       Cohort Study Followed Children Who Were
             3       Permitted Social Transition in Contrast
             4       With Children Not Permitted to Transition
             5       Socially, Most Persisted in Expressing
             6       Gender Dysphoria."
             7                         Do you see that?
             8              A.         Yes.
             9              Q.         And in the next, the first
           10        sentence of paragraph 120, you describe
           11        Olson as discussing a cohort study of
           12        children who had already made a complete
           13        binary rather than intermediate social
           14        transition, including a change of
           15        pronouns.
           16               A.         Yes.
           17               Q.         Okay.       What do you mean by a
           18        complete binary social transition
           19        including a change of pronouns?
           20               A.         I am repeating what, how Olson
           21        described it.              Again, change in hair.
           22        Change in clothes.                  Change in pronouns.
           23        Sometimes a change in name and they
           24        weren't, as I said, I am just reflecting
           25        what, what they said and because it was,

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             1       you know, complete and dramatic and
             2       exactly the reverse of the other 11
             3       studies, the questions or definitions
             4       about do pronouns matter, well, because
             5       one changed and nobody else did, it was
             6       part of it, but pronouns weren't the only
             7       thing that changed either.
             8                         So it doesn't the contrast in
             9       those results doesn't tell us anything
           10        about any one of the components of social
           11        transition.            All we have is the contrast
           12        between people who used every option
           13        available to them and the kids that
           14        didn't use any such option.
           15               Q.         So is it fair to say that in
           16        the context of your declaration, when you
           17        refer to social transition, you're
           18        referring to, you're adopting the
           19        definition from Olson?
           20                          MR. RAMER:            Objection to the
           21               form.
           22               A.         I am not adopting anyone.                        I am
           23        summarizing and reiterating the content
           24        of those studies as given by those study
           25        authors.

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             1                         THE REPORTER:               I need to take a
             2              break.
             3                         THE VIDEOGRAPHER:                   This is the
             4              videographer, the time is 5:27, we are
             5              going off the record.
             6                         (Off the record)
             7                         THE VIDEOGRAPHER:                   We are back
             8              on the record.               The time is 5:37, this
             9              begins media file 7.
           10        BY MR. MAY:
           11               Q.         Let's turn to your declaration,
           12        Exhibit 1, and go to paragraph 114, the
           13        heading right above it.
           14                          So you said 11 cohort studies
           15        followed children not permitted social
           16        transition.             So I want to understand the
           17        verb there.
           18                          Is it that they were, is it the
           19        children expressed an interest in doing
           20        that and they were told they could not.
           21        Is that what you mean by not permitted?
           22               A.         No.      Again, these are studies
           23        that go back, you know, some many
           24        decades.          They didn't report that level
           25        of detail.           They were just describing the

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             1       cases themselves.
             2                         So it was the only word that I
             3       can think of that would accurately
             4       capture all 11.               But they weren't, as I
             5       say, in the earlier studies they didn't
             6       give enough detail, they didn't give
             7       enough detail.               And by the same token in
             8       the 1970s, it wasn't the option that it
             9       is today.
           10               Q.         Do you think it's fair to say
           11        in those 11 studies, it's just that the
           12        children have not socially transitioned
           13        or did not socially transition as opposed
           14        to the not permitted?
           15                          MR. RAMER:            Objection to the
           16               form.
           17               A.         I would have to go back and see
           18        if there is an exception I am not
           19        immediately recalling.                      But in the Zucker
           20        samples, the youth that were in treatment
           21        with him, the purpose of the therapy that
           22        the kids were undergoing was to develop
           23        comfort in their natural bodies.                             And his
           24        philosophy was that allowing a social
           25        transition would work exactly against

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             1       that.
             2                         So part of the process was in
             3       order to help somebody become comfortable
             4       in a situation where they are not
             5       comfortable was exposure to that
             6       situation.           The same as trying to get
             7       somebody uncomfortable with the fear of
             8       heights.          If you give them at every
             9       opportunity permission to move into the
           10        basement, and so on, you're not going to
           11        be helping them get over their fear of
           12        heights.
           13                          So part of the therapy that
           14        Zucker was offering, again, required that
           15        the person develop and, therefore, be in
           16        the situation that they start therapy as
           17        uncomfortable with.                   And that meant not,
           18        not socially transitioning.
           19                          I use the word "permit," again,
           20        kind of relatively generically but I
           21        don't, I can't, especially without
           22        checking each of the original studies
           23        directly, to see what kind of --
           24        enforcement isn't the right word, but
           25        exactly how that situation was handled.

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             1                         If a parent or family, you
             2       know, didn't want to engage in that kind
             3       of a therapy, then, you know, they
             4       wouldn't be in therapy with Ken Zucker.
             5       They would pick a different therapist or
             6       clinic, you know, trying to do, trying to
             7       do something else.
             8                         But my use of the term, as I
             9       say, was as accurately as possible to
           10        pick a word that covered, that covers all
           11        11 studies.
           12               Q.         Which Ken Zucker study, is that
           13        the one in Table 2 of your declaration,
           14        that's the one, the last study listed
           15        with the first author Singh?
           16               A.         And Drummond.
           17               Q.         And Drummond, okay.
           18                          For these 11 studies, was a
           19        desire to be the opposite sex an
           20        inclusion requirement?
           21                          MR. RAMER:            Objection to the
           22               form.
           23               A.         It varied over the course of
           24        the studies.             The DSM criteria changed.
           25        Some of these used the 3.                         Others the 3R.

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             1       Others the 4.              Other the 4R.              And some of
             2       them used a more generic description of
             3       the kid, regardless of what the DSM
             4       criteria at the time was.                         So it varied.
             5              Q.         Did all 11 of these studies
             6       require the child to identify with a
             7       transgender -- strike that.
             8                         Did all 11 of these studies
             9       require the child to have a transgender
           10        identity in order to be included in the
           11        study?
           12                          MR. RAMER:            Objection to the
           13               form.
           14               A.         That question assumes a certain
           15        definition and validity of what identity
           16        means.        And how that term is used and
           17        what it means has changed over time and
           18        in different situations.
           19                          But as I said, these used
           20        several different DSMs over several
           21        different decades in several different
           22        countries.           And every single one of them
           23        came out with exactly the same result.
           24                          So to the extent that there
           25        could be an exception -- then, of course,

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             1       there could always indeed be an
             2       exception -- but the onus of proof then
             3       belongs to whatever, whoever it is that
             4       wants to say "But if you use this
             5       definition, you will get something
             6       different."            Okay.        That is always
             7       possible.           But there has never been any
             8       such indication.                It will eternally
             9       remain possible, but nobody has ever
           10        demonstrated any evidence that any one of
           11        the symptoms or components that lead to a
           12        diagnosis of gender dysphoria, that any
           13        one of them is, makes a difference or how
           14        much of a difference.
           15               Q.         So I appreciate that.
           16        Redirecting back to my question.
           17                          For all 11 of these studies was
           18        a transgender identity an inclusion
           19        criteria?
           20                          MR. RAMER:            Objection to form.
           21               Asked and answered.
           22               A.         I don't know if I have another
           23        way to express it.                  To answer that
           24        question is to say that we have a
           25        reliable way of knowing what the gender

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             1       identity is, and we don't.                            We have what
             2       the kids say.              We have what their
             3       families say.              How accurately does what
             4       they say reflect their identity?                             We have
             5       no idea.          How valid is the concept of
             6       identity in this context?                         We don't know
             7       that either.             So as I say, that level of
             8       abstraction can't really be answered.
             9       All we have is the various self-reports,
           10        and then the observations of the
           11        behaviors.
           12               Q.         Okay.       Social transition is not
           13        banned by the Idaho law HB 71, right?
           14               A.         That's my understanding.
           15                          MR. RAMER:            Objection to the
           16               form.        Calls for a legal conclusion.
           17               A.         Sorry.        That's my
           18        understanding, yes.
           19               Q.         Social transition is not a
           20        medical procedure, you would agree with
           21        that?
           22                          MR. RAMER:            Objection to the
           23               form.
           24               A.         Again, we're falling into a
           25        level of ambiguity where, you know, the

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             1       assumptions are the insinuations used by
             2       the term, can't always be accepted at
             3       face value.
             4              Q.         So let me try and maybe help
             5       you definitionally then and rephrase the
             6       question and ask a better question.
             7       Social transition does not encompass --
             8       strike that.             Let me try one more time.
             9                         A prescription of
           10        puberty-suppressing hormones is not an
           11        aspect of social transition?
           12                          MR. RAMER:            Objection to the
           13               form.
           14               A.         Not directly, no.
           15               Q.         And cross-sex hormone therapy
           16        is part of medical transition, not social
           17        transition; you agree with that?
           18                          MR. RAMER:            Objection to the
           19               form.
           20               A.         Again, not in a simple, direct
           21        way.        But there are caveats to it that
           22        are inescapable, that are pretty
           23        inescapable.
           24                          The best analogy I have is that
           25        going on a diet is not a medical

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             1       procedure, but having a really bad diet
             2       has profound medical implications.                                 So
             3       these don't fall apart -- these aren't
             4       completely independent either.
             5              Q.         Are you familiar with Daniel
             6       Weiss?
             7              A.         I am not getting an image of a
             8       particular person with that name, but I
             9       have to acknowledge I am terrible with
           10        names to begin with.
           11               Q.         I will represent to you that
           12        Daniel Weiss is another one of the
           13        experts that the state has submitted a
           14        declaration from in this case.                           Do you
           15        know him?
           16               A.         No, I don't think so.
           17               Q.         Have you read his declaration?
           18               A.         No, I haven't.
           19               Q.         Have you read his CV?
           20               A.         No, I haven't.
           21               Q.         Have you read his declaration
           22        from any other cases?
           23               A.         No, not that I recall.
           24               Q.         I will also represent that the
           25        state has submitted a declaration from a

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             1       doctor named William Malone; are you
             2       familiar with this individual?
             3              A.         Yes, a bit.
             4              Q.         How are you familiar with
             5       Dr. Malone?
             6              A.         Mostly over social, social
             7       media and some of the essays that he's,
             8       that he's written on the topic.
             9              Q.         Did you read his declaration
           10        that he submitted in this case?
           11               A.         No, I haven't.
           12               Q.         Have you reviewed his CV?
           13               A.         I don't think so.                   If I did, I
           14        don't really recall any of the details
           15        from it.
           16               Q.         Do you think Dr. Malone is an
           17        expert on the treatment of gender
           18        dysphoria?
           19                          MR. RAMER:            Objection to the
           20               form.        Calls for a legal conclusion.
           21               A.         He knows the material as
           22        thoroughly really as a person can.                                 Of
           23        course, emphasizing on its medical
           24        aspects.
           25               Q.         Do you think that Dr. Malone is

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             1       a credible expert with respect to gender
             2       affirming medical care for minors?
             3                         MR. RAMER:            Objection to the
             4              form.        Calls for a legal conclusion.
             5              A.         Yes, from my point of view,
             6       that's, you know, a matter of having the
             7       appropriate knowledge of the relevant
             8       research, which he very much does.
             9              Q.         Have you ever spoken with
           10        Dr. Malone?
           11               A.         We've been in group
           12        conversations together.                       If we've ever
           13        had a one-on-one conversation, I am not
           14        remembering it.
           15               Q.         What were the contexts of the
           16        group conversations that you had with
           17        Dr. Malone?
           18               A.         There is a set of researchers
           19        who want to conduct what is, essentially,
           20        a systematic review of systematic reviews
           21        evaluating how the various of the
           22        systematic reviews of the safety and
           23        effectiveness of the medicalized
           24        transition of minors and how well each of
           25        those reviews have stuck to the

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             1       appropriate protocol for the conduct of
             2       systematic reviews.
             3              Q.         You mentioned earlier that the
             4       certainty of the benefit of
             5       puberty-suppressing and cross-sex hormone
             6       therapy is less clear as the patient gets
             7       younger and younger.                    Do you recall us
             8       discussing that?
             9                         MR. RAMER:            Objection to the
           10               form.        Mischaracterizes prior
           11               testimony.
           12               A.         Sort of.          I think really the,
           13        what I was suggesting is that the farther
           14        away we go from what's actually
           15        established, you know, the less confident
           16        that we can be that the information
           17        generalizes to it.                  But at the same time,
           18        not to make any kind of a, you know,
           19        perfect, you know, line, once 18, all of
           20        the sudden everything is going to be
           21        different than the day before.
           22               Q.         Do you think that doctors,
           23        families and patients are best positioned
           24        in order to make a case-by-case
           25        determinations for the medical treatment

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             1       for the patient?
             2                         MR. RAMER:            Objection to the
             3              form.
             4              A.         I don't think that's how the
             5       lines are drawn.                The quality of the
             6       decision-making, as best as we can
             7       measure, is how well it matches the
             8       evidence we have.                 So different people,
             9       you know, with different relationships
           10        with the kid, you know, can be applying,
           11        you know, different kinds of information.
           12                          If it's the parents who's
           13        following the science, then the parents
           14        are in the position.                    If the parent is
           15        opposing the science, then the parent is
           16        not in the best position and the same for
           17        everybody else, you know, including the
           18        kids themselves in their environment.
           19                          So it's not -- the people of
           20        course factor in, but what actually will
           21        be the best decision follows from how
           22        well their input matches the science, not
           23        really their relationship with the kid.
           24               Q.         If a patient -- if a parent --
           25        strike that and let's start that over.

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             1                         If a parent and an adolescent
             2       go to their doctor and they say that we
             3       have read all of the literature.                             We are
             4       familiar with Dr. Cantor's views on
             5       puberty suppression and cross-sex hormone
             6       therapy.          We are well-versed in the risks
             7       and the benefits and the relative
             8       information or lack thereof, knowing all
             9       of this, we would like to proceed with
           10        cross-sex hormone therapy.
           11                          Do you think it would be
           12        appropriate for that individual to
           13        receive cross-sex hormone therapy?
           14                          MR. RAMER:            Objection to the
           15               form.
           16               A.         I can't resist the gut
           17        reaction.           What 16-year-old can tell me
           18        how the analyses are done, what a
           19        systematic review is?                     What's known and
           20        unknown is a profoundly complicated kind
           21        of question.             And I am having trouble,
           22        you know, finding M.D.s and Ph.D.s
           23        properly applying the basics of the
           24        scientific methods.
           25                          Again, I would have to balk a

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             1       bit at the hypothetical to begin with.
             2       If a person tells me that they know this
             3       information, again, I have my usual
             4       critical thinking.                  I am not going to
             5       take at face value that their description
             6       of their knowledge is true.                           I have
             7       questions for them:                   What did you think
             8       of this; what did you think of that; what
             9       else did you try; how did you -- how did
           10        you read what it is.
           11                          It's the kind of stuff that I
           12        said and if you decide to go, you know,
           13        go ahead with it anyway, all right.                                So
           14        what was it that convinced you that I'm
           15        -- it's not clear to me if they are
           16        saying I am wrong or if they think they
           17        are going to be one of the exceptions.
           18                          Again, my clinical nose
           19        immediately is not to take it at face
           20        value.        Scratch beneath the surface.                          And
           21        figure out how, how they got there.
           22                          And then after that, the
           23        assessment would be pretty much as the
           24        others, that they know this material.
           25        All right.           That's the primary component

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             1       of informed consent.                    Great.        But the
             2       rest of the clinical questions are still
             3       the same.           What other less risky stuff
             4       have you tried already.                       You know, what
             5       are the alternatives, and so on.
             6                         So although nothing in that
             7       says, excludes them, it's not sufficient
             8       either.         The information we have, knowing
             9       that we can't, we the professionals are
           10        no good at predicting who would and would
           11        not benefit from this, well, we can't do
           12        it.        Neither can the kids nor families.
           13        We have no evidence suggesting, giving us
           14        an idea of how accurate their predictions
           15        are either.
           16                          And, of course, it's never, we
           17        could never be too sure that what they
           18        are saying is all we get.                         Are they just
           19        saying whatever it is, if I am the
           20        clinician or somebody else is the
           21        clinician or are they just saying what
           22        they think the clinician needs to hear in
           23        order to sign off on the paper.
           24               Q.         So the same hypothetical.                        The
           25        patient with the additional

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             1       characteristics of this patient has been
             2       displaying gender dysphoric behavior
             3       prepuberty.            Has persisted through
             4       puberty, and has been seeing a therapist
             5       or a qualified mental health professional
             6       since the age of five.                      Do you think that
             7       that person should be categorically
             8       excluded from being able to receive
             9       cross-sex hormone therapy?
           10                          MR. RAMER:            Objection to the
           11               form.
           12               A.         As I say, we're no good at
           13        predicting who will and won't benefit.
           14        The flip side of that same coin is that
           15        we can't categorically conclude in a
           16        situation, you know, that matches the
           17        cases of a couple of existing studies.
           18                          It is indeed possible that,
           19        that this person would be an appropriate
           20        candidate.           But the nature of the
           21        research doesn't allow us to make a
           22        definitive conclusion.                      If they were in a
           23        jurisdiction where that kind of research
           24        was being done, that would be exactly the
           25        place to send that person because they

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             1       would be one of the people from whom we
             2       might be able to learn something -- that
             3       we might be able to learn something.
             4       But, of course, participating as part of
             5       a clinical trial comes with a very
             6       different set or comes with a much more
             7       detailed, advanced deeper set of just
             8       what the person is consenting to.
             9                         Now, they are consenting to a
           10        situation that by definition acknowledges
           11        how much of this is really just unknown,
           12        and this is our best guess which is
           13        different from the kind of informed
           14        consent to say this is the established
           15        practice.           These are the pluses and
           16        minuses.          This is how much risk you're
           17        taking on and you can either sign the
           18        paper or not.
           19                          When it's a research protocol,
           20        like I say, the documentation that goes
           21        along with it and that even if it
           22        doesn't, no matter what the results are,
           23        society at large benefits from it,
           24        because it's part of a data set that gets
           25        analyzed and can help the next cycle or

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             1       generation of people going through it.
             2                         So as I say, because we can't
             3       predict who would and would not benefit,
             4       we can't categorically deny in the same
             5       way that we can't automatically assume
             6       success.
             7              Q.         So you would agree that that
             8       individual should not be categorically
             9       denied access for the possibility of
           10        receiving cross-sex hormone therapy?
           11                          MR. RAMER:            Objection to the
           12               form.        Compound.
           13               A.         I don't think I can say -- your
           14        rephrasing is a bit broader than what I
           15        think I am saying.
           16                          I am just acknowledging that
           17        the current state of the science doesn't
           18        allow us to do that.                    But we can't say it
           19        more broadly or with a more permanent --
           20        there is no ideological block to it.                               We
           21        are just very limited still in our
           22        ability to provide estimates of the
           23        potential risks and potential benefits as
           24        a part of, you know, a person coming to
           25        their decision about it.                        Even WPATH

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             1       itself, as I have in my report, is just
             2       long lists of unknowns.
             3              Q.         Turn back to your declaration.
             4       If you can turn back to paragraph 215.
             5                         MR. RAMER:            Was that 215?
             6                         MR. MAY:          Yes.
             7                         MR. RAMER:            Thank you.
             8              A.         I am there.
             9              Q.         In this paragraph you talk
           10        about an elevated risk of Parkinsonism in
           11        adult females.
           12               A.         Yes.
           13               Q.         Are you an expert in
           14        Parkinsonism?
           15                          MR. RAMER:            Objection to the
           16               form.        Calls for a legal conclusion.
           17               A.         Well, I am a neuroscientist
           18        studying the role of sex in the brain and
           19        as part of -- Parkinson's patients
           20        resemble the control patients that we
           21        used when I was at the Boston VA doing
           22        research on the brain and memory.                              So I
           23        am certainly very fluent in the relevant
           24        information in assessing this kind of
           25        research.

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             1              Q.         And is this a study that you
             2       cite in this paragraph of adult women
             3       without gender dysphoria?
             4              A.         That's right.
             5              Q.         There is no children included
             6       in this study?
             7              A.         That's correct.
             8              Q.         And there is no gender
             9       dysphoric individuals included in this
           10        study?
           11               A.         That's correct.
           12               Q.         There is no transgender people
           13        included in this study?
           14                          MR. RAMER:            Objection to the
           15               form.
           16               A.         That's correct.
           17               Q.         You think this is a relevant
           18        study to consider for risks for
           19        transgender youth?
           20               A.         Yes, absolutely.
           21                          MR. MAY:          Let's go ahead and
           22               take a break for about -- let's go
           23               ahead and take a break.
           24                          THE VIDEOGRAPHER:                   Thank you,
           25               this is the videographer, the time is

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             1              6:06, we are going off the record.
             2                         (Off the record.)
             3                         THE VIDEOGRAPHER:                   The time is
             4              6:16, we are back on the record
             5              continuing media file 6.
             6       BY MR. MAY:
             7              Q.         Dr. Cantor, we were discussing
             8       earlier today the practices of some
             9       different countries over in Europe; do
           10        you recall those discussions we had?
           11               A.         Yes.
           12               Q.         And I want to turn your
           13        attention specifically to Sweden.                              Would
           14        you -- would you be comfortable -- strike
           15        that.
           16                          Turning your attention,
           17        specifically to Sweden, would you support
           18        adopting Sweden's policies in Idaho?
           19                          MR. RAMER:            Objection to the
           20               form.
           21               A.         Essentially, yes.                   And I would
           22        have to emphasize that a large chunk of
           23        that is associated with Idaho.                           The
           24        entire country of the U.S. needs a public
           25        healthcare system like Sweden.                           And that

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             1       given that kind of a situation, you know,
             2       where decisions then are made with, on an
             3       appropriate basis.                  And like Sweden,
             4       based on systematic reviews of the
             5       relevant evidence.
             6              Q.         Would you support Idaho
             7       adopting Sweden's policies towards the
             8       treatment of transgender gender
             9       dysphoric, gender nonconforming youth,
           10        even absent a public healthcare system?
           11                          MR. RAMER:            Objection to the
           12               form.        Compound.           Vague.        Calls for a
           13               legal conclusion.
           14               A.         I'm not quite sure that those
           15        can be separated.                 A major distinction
           16        and what's making, what's associated with
           17        the U.S. going in such a very different
           18        direction than the other countries we
           19        discussed is, again, it's unavoidable
           20        that the basic difference is that in the
           21        U.S. these decisions are being made by
           22        professional guilds with a conflict of
           23        interest whose decisions are reflecting
           24        not the science, but the broader
           25        principle of opposing a government

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             1       telling doctors what to do.
             2                         So when the science is, so when
             3       the professional associations are saying,
             4       oh come to our members because our
             5       members are doing the right thing, we
             6       know they are doing the right thing
             7       because it's right for our members and
             8       the decisions are being made by a group
             9       with a conflict of interest.                          Where in a
           10        public healthcare system, the government
           11        is supposed to be directing and limiting
           12        what it is that the medical profession
           13        does.
           14                          At the moment the question
           15        about, you know, the government telling
           16        doctors what they may or may not do
           17        happens to be about the medical treatment
           18        and medicalized transition of minors, but
           19        the U.S. is only in this position exactly
           20        because the decisions are being made by
           21        the providers rather than by a public
           22        healthcare system which has the public
           23        health as its primary concern.
           24        Profession associations have as their
           25        primary concern, the professionals.

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             1                         As I say, at the moment the
             2       question happens to be about medicalized
             3       transition of minors, but that's just the
             4       current situation.                  We're here, the U.S.
             5       is here exactly because the decisions are
             6       not being made by the appropriate people
             7       on the appropriate basis, serving the
             8       appropriate public interest.
             9              Q.         Would you support a system in
           10        Idaho that allows for the prescription of
           11        puberty-suppressing hormones and
           12        cross-sex hormone therapy in the context
           13        of formally-approved research studies?
           14                          MR. RAMER:            Objection to the
           15               form.
           16               A.         As a basic, as a basic
           17        principle as we were saying before, yes,
           18        again, as a scientist I do believe that
           19        free scientific inquiry needs to be, a
           20        society, a state, any group is better
           21        off, you know, when scientists have a
           22        freedom of inquiry.
           23                          If ever it is possible for us
           24        to figure out or come up with a method of
           25        accurately or reliably identifying who

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             1       would benefit from medicalized transition
             2       versus who would be better off with a
             3       different intervention, it's going to be
             4       by increased research.
             5                         But in saying that, again, I
             6       don't want to overstate it either.                                 It
             7       remains eternally possible that the, it
             8       remains possible that the research may
             9       show that it is very, very few people and
           10        we're not able to identify such -- not
           11        able to come up with a method to identify
           12        these kids.             And so even though there is
           13        a, you know, theoretical exception made
           14        for research, if there are no research
           15        questions to be answered, then, again, it
           16        becomes moot, it becomes not available.
           17               Q.         During the course of your
           18        deposition today, did you speak with
           19        anyone during any breaks or anything like
           20        that?
           21               A.         No.
           22                          MR. MAY:          Okay.         Then I have no
           23               further questions at this time.                              And I
           24               will pass the witness.
           25                          MR. RAMER:            And I have no

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             1              questions for the witness.                        And we
             2              just ask to review and sign.
             3                         THE VIDEOGRAPHER:                   Thank you,
             4              counsel.          This is the videographer.
             5              The time is 6:23, we are going off the
             6              record.         This ends media file 6 and
             7              that concludes this deposition.
             8                         (Time noted:              6:23 p.m.)
             9
           10
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             1                        ACKNOWLEDGMENT OF DEPONENT
             2
             3                     I have read the foregoing transcript
             4       of my deposition and except for any
             5       corrections or changes noted on the errata
             6       sheet, I hereby subscribe to the transcript
             7       as an accurate record of the statements made
             8       by me.
             9                                   _________________________
                                                          JAMES M. CANTOR
           10
           11
           12        SUBSCRIBED AND SWORN before
           13        and to me this ____ day of ___________,
           14        2023.
           15                                           ______________________
           16                                                     NOTARY PUBLIC
           17
           18        My Commission Expires:
           19
           20
           21
           22
           23
           24
           25

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             1                                   CERTIFICATION
             2
             3                    I, DAWN MATERA, a Notary Public for
             4       and within the State of New York, do hereby
             5       certify:
             6                    That the witness whose testimony as
             7       herein set forth, was duly sworn by me; and
             8       that the within transcript is a true record of
             9       the testimony given by said witness.
           10                     I further certify that I am not
           11        related to any of the parties to this action
           12        by blood or marriage, and that I am in no way
           13        interested in the outcome of this matter.
           14                     IN WITNESS WHEREOF, I have hereunto
           15        set my hand this 22nd day of September, 2023.
           16
           17
           18                          <%5777,Signature%>
                                     _____________________
           19                                 DAWN MATERA
           20
           21
           22
           23
           24
           25

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             1                             ERRATA SHEET
                                             VERITEXT
             2
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             3       DATE OF DEPOSITION: September 21, 2023
                     WITNESS'S NAME: JAMES M. CANTOR
             4
             5       PAGE/LINE(s)/    CHANGE          REASON
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                                         Signature of Deponent
            21
                     Subscribed and Sworn To
            22       Before Me This______Day
                     of_______________, 2023.
            23
                     _______________________
            24            Notary Public
            25       My Commission Expires__________________

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                                    UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF IDAHO



             PAM POE, et al.,                        Case No. 1:23-cv-00269-CWD
                                                     DECLARATION OF
             Plaintiffs,                             ARIELLA BAREL IN SUPPORT OF
             v.                                      PLAINTIFFS’ MOTION FOR A
                                                     PRELIMINARY INJUNCTION
             RAÚL LABRADOR, et al.,
             Defendants.




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                   I, Ariella Barel, declare under penalty of perjury of the laws of the United States of America

            that the following is true and correct, and state:

                   1.      I am an attorney with the law firm Groombridge, Wu, Baughman and Stone LLP,

            counsel of record for Plaintiffs Pam Poe, Penny Poe, Peter Poe, Jane Doe, Joan Doe, and John

            Doe. I have been admitted pro hac vice in this Court for this action. I make the following

            statements of my own personal knowledge, and, if called as a witness, I would and could testify

            competently thereto.

                   2.      Attached hereto as Exhibit A is a true and correct copy of Idaho House Bill 509 of

            the 65th Legislature, introduced during the Second Regular Session of 2020, as published on the

            Idaho Legislature’s official website.

                   3.      Attached hereto as Exhibit B is a true and correct copy of the engrossed version of

            Idaho House Bill 500 of the 65th Legislature, introduced during the Second Regular Session of

            2020, as published on the Idaho Legislature’s official website.

                   4.      Attached hereto as Exhibit C is a true and correct copy of the engrossed version of

            Idaho Senate Bill 1100 of the 67th Legislature, introduced during the First Regular Session of 2023,

            as published on the Idaho Legislature’s official website.

                   5.      Attached hereto as Exhibit D is a true and correct copy of a Tweet from Tammy

            Nichols’ official Twitter account, dated April 30, 2023.

                   6.      Attached hereto as Exhibit E is a true and correct copy of a Tweet from Tammy

            Nichols’ official Twitter account, dated April 28, 2023.




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            I declare under penalty of perjury that the foregoing is true and correct.



            Executed on: July 21, 2023


                                                                         Ariella Barel, Esq.




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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF IDAHO


             PAM POE, by and through her parents
             and next friends, Penny and Peter Poe;
             PENNY POE; PETER POE, et al.,
                                                          Case No. 1:23-cv-00269-CWD
                               v.
                                        Plaintiffs,    DECLARATION OF JOAN DOE
                                                            IN SUPPORT OF
             RAÚL LABRADOR, in his official            PLAINTIFFS’ MOTION FOR A
             capacity as Attorney General of Idaho,    PRELIMINARY INJUNCTION
             et al.,

                                        Defendants.




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                                DECLARATION OF JOAN DOE IN SUPPORT OF
                           PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

                   I, Joan Doe, hereby declare as follow:

                   I offer this Declaration in support of Plaintiffs’ Motion for a Preliminary Injunction. I have

            personal knowledge of the facts set forth herein and could and would testify competently to these

            facts if called as a witness.

                   1.       I am a Plaintiff in this action, and refer to myself here as “Joan Doe.” I am the

            mother and next friend of Plaintiff Jane Doe, my minor child. Plaintiff John Doe is my husband,

            and Jane Doe’s father. I make this Declaration in support of Plaintiffs’ Motion for a Preliminary

            Injunction. I am over the age of 18, of sound mind, and in all respects competent to testify. I have

            personal knowledge of the information contained in this Declaration and would testify completely

            to these facts if called to do so.

                   2.       My husband and I, with our three children, have resided in Boise for seventeen

            years. I work part-time at an elementary school. My husband is an engineering director at a

            technology company.

                   3.       Our daughter Jane Doe is sixteen years old, is a girl, and is transgender.

                   4.       My husband and I love Jane unconditionally, exactly as we do our other two

            children. As parents, we have always done what we know and believe to be best for her, to ensure

            that she is happy and healthy. That is all we have ever wanted for all of our children.

                   5.       Jane was assigned the sex male at birth, and we gave her a traditionally male name.

            Around September 2020, when she was 14 years old, Jane told my husband and me that she is

            transgender. She told us that she had known she was a girl for much longer, but that she had been

            afraid to tell us and unsure how to do so. But she told us that she could not put off telling us any


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            longer because she was in so much pain because of changes that were happening to her body. Like

            any mother whose child tells them that they are in pain, this broke my heart more than I could ever

            express. No mother ever wants their child to be in any kind of pain, let alone to struggle in silence.

                  6.       My husband and I have friends who are transgender, and we felt we understood at

            some level what it means to be transgender and how difficult it can be in this world. And like any

            parents confronting something new with their child, we had concerns because we just did not know

            how to get Jane the right help. Our main concern was and continues to be Jane’s health and

            happiness.

                  7.       As a child, Jane had naturally gravitated towards things considered to be for little

            girls. For example, when Jane played video games, which she enjoys, she would always choose to

            be a female character. Jane would also often choose clothes in the girls’ section of the store.

                  8.       Before Jane told us she is transgender, I saw her struggle immensely with her mental

            health, especially as puberty started. At the time, I was not sure what was causing it, but I saw her

            withdrawing and closing off from her normal self. In retrospect, I realize this was stemming from

            her gender dysphoria.

                  9.       After Jane told us what was going on and that she is transgender, we immediately

            wanted to educate ourselves and to get her help. We first took her to her long-time pediatrician.

            We explained to the pediatrician what Jane had told us, and Jane herself explained how she felt

            and what she was experiencing. While our pediatrician had no personal experience treating gender

            dysphoria, and therefore referred us to someone with expertise in the area, I will never forget what

            she said to Jane that day: “from the moment you were born my job has been to make sure you’re

            healthy and happy, and this doesn’t change anything.” It meant so much to us that she knew

            instinctually to support us and to do so overtly.


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                  10.      With our pediatrician’s help, we found a therapist with experience working with

            transgender patients and made appointments for Jane, and we found a doctor who had experience

            caring for youth with gender dysphoria. We reached out and set up an appointment.

                  11.      While we waited for the appointment, Jane began to socially transition and we

            educated ourselves about that. She chose her new name, and she started styling her hair more

            femininely and wearing makeup.

                  12.      We noticed some improvements in Jane’s mental health and confidence, just from

            calling her by her chosen name and pronouns, supporting her in dressing and grooming herself

            how she wanted, and in finally being free to live as herself. But she remained distressed about the

            changes that puberty was bringing to her body.

                  13.      When the time finally came for Jane’s first appointment with the doctor in

            November 2020, she was very excited. During that appointment, several things happened. We

            provided Jane’s past medical history, which was quite limited because she had never had any

            medical issues. The doctor evaluated her, asking her a lot of questions about her experiences,

            understanding of herself, and mental health history. Separately, he and I talked about what I had

            seen with regard to Jane’s gender identity, experiences, and mental health. He also requested

            contact information for Jane’s primary care doctor and therapist. Next, he went over the treatment

            options for gender dysphoria, such as puberty blockers, and later, potentially gender-affirming

            estrogen therapy. He explained what to expect regarding timelines, and risks associated with each

            type of treatment, and he also did bloodwork.

                  14.      After the first appointment with her doctor, Jane continued seeing her therapist,

            which went really well. She also continued to see her doctor during this time so he could see how

            she was progressing in therapy, and to continue to discuss the potential risks and benefits of


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            treatment and to discuss fertility preservation options should she proceed with gender affirming

            medical care.

                  15.       During this time, we also continued to discuss everything we were learning with

            Jane, privately as a family. Jane still struggled with the changes that were happening to her body

            as male puberty continued, and she was hopeful knowing that she had options and a competent

            doctor who could provide the care she needed. But she wanted the process to move faster.

                  16.       In January, 2021, with the support of her therapist and doctor, as a family we

            decided that Jane would start puberty blockers. I know that this was a huge relief for Jane. Even

            though the effects were not immediate, just knowing that she was finally getting the care to stop

            the changes to her body that were causing her so much pain really impacted her mental health in a

            positive way. I was just so happy to see her happy and getting what she needed to be herself.

                  17.       In April 2021, Jane was nearly 15 and there were no doubts about the stability of

            Jane’s female gender identity, so in consultation with Jane’s doctor and after again discussing what

            to expect from estrogen therapy, the potential risks and benefits, and fertility preservation options,

            we all agreed that it was appropriate for Jane to start estrogen therapy for the continued treatment

            of her gender dysphoria.

                  18.       Jane remains on estrogen therapy for the treatment of her gender dysphoria, under

            the care and supervision of her doctor.

                  19.       Gender-affirming medical care has changed Jane’s life, and the life of our family,

            for the better. She has never been happier. She has never been more herself. As a parent, to see

            where she started, in so much pain, in comparison to where she is today, a vibrant, happy, outgoing,

            beautiful young woman, has been lifechanging for me and my family as well. Her mental health




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            has significantly improved. Her grades in school have improved. And this is all because she was

            able to access the healthcare that she needed.

                  20.      As a family, when we first heard about H.B. 71, we were naturally concerned and

            confused. We have seen how beneficial gender affirming medical care had been for Jane.

                  21.      Leading up to H.B. 71 being passed, my husband and I witnessed Jane’s mental

            health begin to decline, out of anxiety about what was happening in the state legislature and out of

            fear of having to stop gender-affirming medical care. Her mental health deteriorated to a state that

            we had not seen since before she came out to us and began treatment. It terrified all of us. Jane’s

            anxiety around potentially losing care intensified to such debilitating levels that her grades began

            to slip again. She started missing school because her anxiety was so bad that she could not get out

            of bed or leave her room. She was scared to go outside. I was heartbroken to see my child, this

            beautiful flower that had blossomed so much and was finally thriving, start to wither away.

                  22.      On the day H.B. 71 passed into law, Jane was so emotionally devastated that my

            husband and I had to pick her up from school and bring her home for the day.

                  23.      This is the medical care that we want for our child. This is the medical care for

            which we sought out experienced, competent providers for. My husband, Jane’s siblings, and I, are

            all so scared about what will happen to Jane if she is forced to stop treatment. We do not know

            what to do. We have thought about trying to find care in another state, but do not know if we can

            make it work with out-of-state providers, insurance, time off for travel, and the additional

            financial burden. My husband and I are also seriously considering uprooting our lives and our




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            children's lives by leaving Idaho, so that Jane can continue to receive the gender-affirming

            medical care she needs.

                   24.      We do not want lo leave Idaho. Jane docs not want to leave Idaho. Her siblings do

            not want to leave Idaho. They have lived here their entire lives. This is where we have built our

            lives, it is our community, it is where they go to school, and it is where our friends and family

            are. I love my job and care deeply about the students that 1 work with. The reality that I might

            have to quit my job because of H.B. 71 makes me incredibly sad.

                   25.      Our oldest child committed to attending Boise State University before any of thjs

            happened, because be wanted to remain close to us and we wanted to be close to him.

                   26.      As each day passes, our fear grows and we are still grappling with what we must

            do if H.B. 71 goes into effect in a few months. Jane's health is our priority, and we know that we

            have done what is best for her. The fear and uncertainty is affecting all of us, and threatens to

           upend all of our lives. All that we want is for Jane to be able to continue receiving the care that

            we agree she needs, her providers agree that she needs, and that we have seen, firsthand, as

            necessary for our daughter to thrive.

                   27.      But as parents who have seen what it means when their child is not receiving care,

            we understand how serious Jane's gender dysphoria is, and how harmful it would be if her

            treatment is cut off and all her progress is lost.



                   I declare under penalty of perjury that the foregoing is true and correct.

                   Executed in Idaho, on this 18th day of July, 2023.




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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF IDAHO



             PAM POE, by and through her parents
             and nextfriends, Penny and Peter Poe;
             PENNY POE; PETER POE, et al.,
                                                          Case No. 1:23-cv-00269-CWD
                               v.
                                        Plaintiffs,    DECLARATION OF PENNY POE
                                                        IN SUPPORT OF PLAINTIFFS'
             RAUL LABRADOR, in his official                   MOTION FOR A
             capacity as Attorney General ofIdaho,      PRELIMINARY INJUNCTION
             et al.,

                                        Defendants.




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                             DECLARATION OF PENNY POE IN SUPPORT OF
                         PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

                 I, Penny Poe, hereby declare as follow:

                 1.       I offer this Declaration in support of Plaintiffs' Motion for a Preliminary Injunction.

           I have personal knowledge of the facts set forth herein, and could and would testify competently

           to these facts if called as a witness. I am a Plaintiff in this Action, and call myself "Penny Poe." I

           am the parent and next friend of my minor child, Pam Poe, who is also a Plaintiff. My husband,

           "Peter Poe," is the father of Pam Poe and is also a Plaintiff

                 2.       My husband and I reside in Meridian, Idaho, with our daughter Pam and her sibling.

           We have an adult daughter who also lives in Idaho. We are all lifelong Idahoans. We have lived in

           Meridian for the last fifteen years and before that, we resided in Boise.

                 3.       I work as a data coordinator for an Idaho agency. My husband is employed in the

           operations division of a warehouse.

                 4.       Our daughter, Pam Poe, is fifteen years old.

                  5.      Pam is a girl.

                  6.      Pam is transgender.

                  7.      Pam first told me that she was transgender in August 2021. My husband and I were

           hosting family one evening at our home. I received a text from Pam telling me that she was

           nonbinary, that her name was now "Pam," and the pronouns she would like to use. I realized it was

           a big moment for her and that she likely had a lot of fear. I can admit that in the moment I felt

           overwhelmed when I first read the text. Having so many family members over and not being able

           to go and comfort Pam in the moment made it harder. I texted her back and told her that I loved

           her and that we would talk more in the morning. I eventually told my husband late in the evening

           about what Pam had texted me.

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                   8.     The next morning, after much of my family had left, I went to Pam's room. I sat

           next to her on the floor, gave her a big hug, and just told her repeatedly how much I loved her. I

           asked her who else she had told, who does not know, and who she wanted to avoid knowing at that

           time.

                   9.     As parents, there was not a question in our minds about supporting our daughter,

           but when she first told me, I did not know anything about being nonbinary or transgender, or what

           it would look like to support her. I just knew I wanted the best for her, and I wanted her to be happy

           and healthy. It took me some time to learn through self-education. I also learned a lot from Pam

           and her healthcare providers, as we have embarked on this journey.

                   10.    Although I sensed that telling me was a huge relief for Pam, I saw her struggling

           with her mental health in late 2021. She was depressed and anxious, but most concerning was that

           Pam was having thoughts of self-harm and was actually engaging in self-harm. I believe that this

           behavior was being driven by the overwhelming emotions that she had been and was continuing

           to deal with, including what we later learned was gender dysphoria. It scared us a lot, as a family.

           I never want to lose my daughter.

                   11.    We quickly got her into weekly counseling, so that she would have a professional

           to talk to and another person to receive support from. Despite the counseling, Pam continued to

           have severe mental health issues and thoughts of self-harm, and she was engaging in self-injurious

           behavior. Thankfully, around the last week in February 2022, Pam was brave enough to come to

           me and tell me how severe her symptoms were and she said that she needed more support. As a

           family we decided that Pam would benefit from inpatient residential treatment. That way we would

           know she was safe, in the care of trained professionals around the clock, and she could get the care

           we all agreed she needed.


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                  12.     Pam spent one week at the inpatient residential treatment facility. She was

           diagnosed with gender dysphoria, depression, and anxiety by one of her treating providers at the

           facility.

                  13.     My husband and I immediately started seeking out providers who had experience

           in treating gender dysphoria. It took longer than we would have liked because of waiting lists, but

           Pam was finally able to start seeing a doctor who specialized in treating gender dysphoria about

           two months later, around May 2022.

                  14.     During the first visit, my husband and I were both there with Pam. We learned a lot

           during that appointment. Pam's doctor went through a long questionnaire with Pam. In evaluating

           Pam and discussing treatment options for gender dysphoria, he considered that she was already

           seeing a mental health professional, had already been diagnosed with gender dysphoria, and that

           we had received a referral for treatment following her time in inpatient residential treatment. He

           also drew blood to perform lab work to establish where Pam was in terms of her puberty. The

           doctor discussed the risks of puberty blocking medication, the expected results from treatment,

           and potential effects on Pam's fertility if she were to later receive estrogen therapy.

                  15.     I will never forget the huge smile on Pam's face after we left that first appointment.

           She looked the happiest I had seen her in over a year. While it was still very early in the process, I

           had such a huge sense of relief. I knew we were on the right track. I was happy that we knew why

           Pam was experiencing the feelings she was, and that we had a doctor who could provide the

           treatment and support that she needed.

                  16.     Pam's doctor prescribed puberty blockers and she began taking them in June 2022.

           Pam was 14 years old at the time. The change in Pam was almost overnight. Her mental health




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           improved significantly just knowing that the changes that were happening to her body, which had

           been causing her such severe distress, were no longer going to happen or progress.

                 17.      For the next year, Pam was a different person. She started feeling more confident

           and happier without having to experience the distress that male puberty caused for her. We told

           more and more people that her name was now Pam and that she used female pronouns. She was

           herself, happy, and thriving. She saw her doctor regularly for check-ins and lab work, to monitor

           the effectiveness and dosage of the puberty blockers, and to make sure she was happy and

           otherwise healthy. When Pam started high school in August 2022, she went to school as Pam

           because it was important for her to start these next four years living authentically. Everything at

           school has been great for Pam regarding her being transgender. She was treated as the girl that she

           is from day one.

                 18.      In April 2023, when Pam was 15 years old, we raised with her doctor the possibility

           of beginning estrogen therapy as the next step in treatment for her gender dysphoria. Again, after

           careful consideration, evaluation by her doctor, discussion with her doctor of the potential risks

           and benefits of estrogen therapy and fertility preservation, and talks as a family, Pam, her father

           and I, along with her doctor, agreed that estrogen therapy was an appropriate medical treatment

           for her gender dysphoria. We signed the informed consent paperwork and her doctor prescribed

           her estrogen therapy. She has now been on estrogen therapy since April 2023

                 19.      Pam's mental health has continued to improve with treatment, as she continues to

           develop into the person she knows herself to be. As parents, my husband and I could honestly not

           be happier. We have our child back and she is flourishing. She is a wonderful, talented, and

           beautiful young woman, who we are so proud of.




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                  20.      Like any person these days who watches or reads the news, we started seeing the

            legislation banning gender-affirming medical care popping up all over the country. I do not think

           we ever thought it would come to Idaho. When the H.B. 71 legislation was introduced in the Idaho

            legislature, we were terrified. After everything that we had been through with Pam, including the

            fear of losing our daughter before we were able to get her the care that she needed, we just could

           not believe that Pam was now at risk of being taken off her medication. It was inconceivable that

           we, as her parents, and in consultation with her doctor, had no say in the decision.

                  21.      Around the time H.B. 71 was being debated, my husband and I noticed that Pam's

           mental health seemed to be negatively impacted. When the legislation passed, Pam was visibly

            devastated. As were we. Gender-affirming medical care saved our daughter. Now, we live every

            day knowing that in a few short months, Pam may no longer be able to receive the care she needs

           anywhere in Idaho, our home.

                  22.      The stress and fear have impacted our entire family. We are lifelong Idahoans. We

           never imagined a time when we would leave Idaho, and especially not during the middle of Pam's

           high school years. This is where our home is, our community, our lives, our family, our friends,

           our jobs, our children's schools, and their friends. We do not want to uproot our lives, but Pam's

           health, safety, and ability to access the healthcare she needs is and has to be a top priority. We are

           terrified of the potential consequences on Pam's health if her medical care is banned, because we

            do not even have to guess what will happen to her mental health and to her body, because we have

           been through it. The thought of my child going back to feeling like she does not want to live or

           wants to hurt herself is just something I cannot even think about.

                  23.      My husband and I would never put her through that because we would be forcing

            her to live as someone she is not and placing her in danger because of the effects on her mental


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           health. We have explored the possibility of regularly traveling to another state for care, and the

           time, logistics, and costs would be very difficult for our family. If we had to move, it would mean

           giving up our jobs, our home, our financial security, disrupting our two youngest children's

           educations and lives, and leaving everything we have ever known behind. Both of these options

           would result in significant hardship on everyone in our family, but these are our only options if

           H.B. 71 goes into effect.

                 24.         H.B. 71 will be devastating for our family. We ask the Court please not to let H.B.

           71 take effect.



                 I declare under penalty of perjury that the foregoing is true and correct.

                 Executed in Idaho, on this 18th day of July, 2023.


                   l eJnirul
                  Penny Pole




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